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                               Exhibit 16
         State of California ex. rel. Ven-A-Care of the Florida Keys, Inc. v.
                           Abbott Laboratories, Inc., et al.

              Exhibit to the Declaration of Nicholas N. Paul in Support of
  Plaintiffs’ Opposition to Defendants’ Joint Motion for Partial Summary Judgment
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                     UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS



IN RE PHARMACEUTICAL INDUSTRY )               MDL DOCKET NO. 1456
AVERAGE WHOLESALE PRICE                   )   Master File No. 01-12257-PBS
LITIGATION                                )   (Original Central Dist. of California
                                          )   No. 03-CV-2238)
                                          )
                                          )   Judge Patti B. Saris
THIS DOCUMENT RELATES TO:                 )
State of California ex rel. Ven-A-Care v. )
Abbott Laboratories, et al.               )
03-CV-11226-PBS                           )
___________________________________ )




                              EXPERT REPORT OF

             STEPHEN W. SCHONDELMEYER, PHARM.D., PH.D.
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                                                         EXPERT REPORT OF

                          STEPHEN W. SCHONDELMEYER, PHARM.D., PH.D.


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I.      QUALIFICATIONS AND BACKGROUND

     1. I make this statement as an independent expert in pharmacy, pharmaceutical

economics, and public policy. I hold the following positions and titles in the College of

Pharmacy at the University of Minnesota: Head, Department of Pharmaceutical Care &

Health Systems; Century Mortar Club Endowed Chair in Pharmaceutical Management

and Economics; Professor of Pharmaceutical Management and Economics; and Director

of the PRIME Institute. I hold a Bachelor of Science in Pharmacy (1974, University of

Missouri-Kansas City), a Doctor of Pharmacy and Residency Certificate (1977,

University of Kentucky), a Master of Arts in Public Administration (1979, Ohio State

University) and a Doctor of Philosophy in Administrative and Social Sciences in

Pharmacy (1984, Ohio State University).        A list of my professional memberships,

professional activities, research activities, publications and other scholarly activities,

citation of work in public media, offices held in professional and scientific organizations,

university administrative and service positions, honors and awards, and civic and

community activities is contained in a copy of my most recent curriculum vitae, which is

attached hereto as Exhibit “1.”

     2. My experience related to pharmaceutical economics and public policy research

spans more than 30 years. I am currently the director of the PRIME Institute at the

University of Minnesota, which was established in 1991 to conduct research related to the

management and economics of the pharmaceutical marketplace. Prior to accepting a

position at the University of Minnesota, I directed the Pharmaceutical Economics

Research Center (PERC) at Purdue University from the time the Center was established




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in 1986 to 1991.      PERC also engaged in research related to the economics of the

pharmaceutical marketplace.

    3. I was appointed by the United States Congress to the Prescription Drug Payment

Review Commission, an 11-member independent Congressional commission that served

as an advisory body to the U.S. Congress with respect to the outpatient drug program

established by the Medicare Catastrophic Coverage Act of 1988.

    4. I provided professional staff analysis for the Kentucky Drug Formulary Council,

Department for Human Resources, Commonwealth of Kentucky from 1975 to 1977. The

Kentucky Drug Formulary Council was the nation’s first governmental body to establish

a generic equivalence standard for determining whether or not brand and generic drug

products could be considered as generic equivalents and, therefore, could be substituted

for one another. This generic equivalence formulary preceded the FDA’s Orange Book.

    5. As an academic researcher, my principal areas of interest have included trends in

the pharmaceutical marketplace at all levels, the structure and performance of

pharmaceutical markets, competition between and among brand name and generic drugs,

and the impact of generic competition, including generic entry into brand drug markets. I

have also conducted research on medication use and expenditures by the elderly, drug

coverage under health insurance plans, access and affordability of pharmaceutical

products, in addition to pharmacoeconomic research and policy analysis related to all

aspects of the pharmaceutical marketplace.         I have performed pharmacoeconomic

research for many organizations, including, among others, the U.S. Centers for Medicare

and Medicaid Services (CMS)—formerly known as the Health Care Financing

Administration (HCFA), the U.S. Government Accountability Office (GAO)—formerly




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known as the General Accounting Office (GAO), the U.S. Food & Drug Administration

(FDA), the U.S. Congress’s Office of Technology Assessment (OTA), pharmaceutical

firms, professional societies, and various state governments and agencies. I have also led

pharmaceutical research and policy projects at the international level for governments

including Thailand, Singapore, Spain, Canada, Argentina, Venezuela, South Africa,

South Korea, and Taiwan.

    6. Based upon on my experience in professional consulting and academic research, I

have particular expertise in economic and public policy issues in the pharmaceutical

marketplace. One of the major focuses of my research and work relates to the impact and

role of generic drugs and generic competition. In this context, I am well versed in

assessing the economic impact of generic competition on all levels of the pharmaceutical

marketplace, including on the various channels of distribution and upon consumers, the

behavior of brand manufacturers faced with generic competition, and the mechanisms by

which generic competition is fostered and, by contrast, impeded. Another of the major

focuses of my research and work relates to the reimbursement for prescription drugs

under private and public insurance programs including Medicaid and Medicare. In this

context, I am well versed in assessing the economic impact of reimbursement policies on

all levels of the pharmaceutical market including providers, patients, and payers.

    7. My research projects directly related to general issues in the pharmaceutical

market, such as drug prices, competition, generic entry, pricing, market penetration,

channels of distribution, the effects of generic competition on the market for originator

drug products, and other economic and marketing issues, also are listed in my curriculum

vitae (see Exhibit “1”).




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    8. My experience includes conduct of several studies specifically for the Centers for

Medicare and Medicaid Services (CMS)—the federal agency that oversees both Medicare

and Medicaid. Among the studies conducted for CMS or its predecessor agency (HCFA,

the Health Care Financing Administration) are the following:

                    a. Report to Congress on Manufacturers’ Prices and Pharmacists’

                Charges for Outpatient Drugs Covered by Medicare (Department of

                Health and Human Services, June 27, 1989, Stephen W. Schondelmeyer

                and Joseph Thomas);

                    b. Impact of the Medicaid Drug Rebate Program on Expenditures,

                Utilization,   and   Access:   Final   Report   (Health   Care   Financing

                Administration, Contract # XXX-XX-XXXX, DO #3, April 1995, Stephen W.

                Schondelmeyer, Judy A. Johnson, Dong Churl Suh, George Wright, Ann

                Cherlow, Andrew Asher, Angela Schmitt, Portia DeFilippes, Jon B.

                Christianson, John Kralewski).

                    c. Medicaid and Medicare Drug Pricing: Strategy to Determine

                Market Prices (CMS Contract # XXX-XX-XXXX, Task Order 1, August 30,

                2004, Stephen W. Schondelmeyer and Marion V. Wrobel);

                    d. Sales of Drugs and Biologicals to Large Volume Purchasers: Final

                Report (CMS Contract #XXX-XX-XXXX, Task Order 1, September 19, 2005,

                Marian V. Wrobel, Stephen W. Schondelmeyer, Susan Jureidini, Shuchita

                Agarwal, Rachel Sayko, A.C. Doyle)

                    e. Case Study of the Texas Vendor Drug Program’s Approach to

                Estimating Drug Acquisition Cost: Final Report (CMS Contract # 500-00-




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                 049, Task Order 1, September 26, 2005, Marian V. Wrobel, Stephen W.

                 Schondelmeyer, Shuchita Agarwal, and Janice Cooper), and

                     f. Evaluation of Pharmaceutical Pricing Under Medicare Drug

                 Card: Final Report (U.S. Dept. of Health & Human Services, Assistant

                 Secretary for Planning and Evaluation, Task Order Contract #100-03-

                 0106, November 16, 2006, Stephen W. Schondelmeyer, Margaret Artz,

                 Shriram Parashuram, Lois Olinger, and Sarah Shoemaker).

      9. A list of other cases in which I have testified as an expert at trial or by deposition

is attached as Appendix B to my curriculum vitae (see Exhibit “1”).

      10. I am being compensated for my time spent working on this case at the rate of

$600.00 per hour for time spent testifying, or preparing for testimony, and $400.00 per

hour for all other time.



II.      SCOPE OF REPORT

      11. I understand that this action was originally initiated by the plaintiff, Ven-A-Care

of the Florida Keys, Inc. (“Ven-A-Care”). I further understand that the State of California

has intervened as to certain defendants. The suit at the time of this report names Dey,

Inc., and Dey L.P. (collectively known as “Dey”); Mylan Laboratories, Inc., and Mylan

Pharmaceuticals, Inc. (collectively known as “Mylan”); and Sandoz, Inc. (referred to as

“Sandoz”). Collectively, Dey, Mylan, and Sandoz will be known as the “Defendants.”

      12. I have reviewed California’s First Amended Complaint (California’s First

Amended Complaint) in Intervention filed against Dey, Mylan, and Sandoz. The

Plaintiffs allege, among other things, that “Defendants defrauded the Medicaid program




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of the STATE OF CALIFORNIA (known as “Medi-Cal”) by reporting excessively high

and false prices for some of their prescription drugs with knowledge that Medi-Cal used

these reported prices for establishing reimbursement to its Medi-Cal providers for these

drugs. As a result, Medi-Cal sustained significant losses to its program by making

reimbursement payments for the drugs at illegally excessive prices compared to the prices

at which the Medi-Cal providers actually acquired the same drugs.” [See California’s

First Amended Complaint, ¶ 1].

    13. I have reviewed documentation, including some of Defendants’ business records

provided as discovery responses in this case, certain documents and records of the state

and federal Medicaid programs, certain documents of the Medi-Cal program, various

deposition testimony and exhibits, literature in the field of pharmaceutical economics,

and other publicly available documents and sources. In addition to those sources

specifically referred to in this Report, all materials I considered in formulating my

opinions are being produced or identified with this report.

    14. I have been asked to testify about the following subject matters: an overview of

the pharmaceutical market; an overview of pharmaceutical pricing; a description of the

federal-state Medicaid drug programs including Medi-Cal; a description of the Medicaid

drug rebate program; a review of Dey’s, Mylan’s, and Sandoz’ price reporting to the

Medi-Cal program and to commercial price databases; and other topics related to

pharmaceutical pricing and reimbursement. Specifically, I have been asked to render an

opinion as to the processes of Medicaid and Medi-Cal programs with respect to drug

reimbursement and the role of drug manufacturers, including Dey, Mylan, and Sandoz, as

price reporters in the Medicaid and Medi-Cal pharmaceutical payment systems.




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       15. My opinions contained herein are based upon my review of the above-described

documents, as well as upon my qualifications and 30 years of experience described

above. I understand that discovery is ongoing in this case, and as always with an expert

report, I reserve the right to amend and update my opinions based upon additional

information that may be provided to me, including additional discovery, or that may

become known to me by other appropriate means in the future.



III.      SUMMARY OF FINDINGS

       16. This case involves Dey, Mylan, and Sandoz and the prices they reported to the

commercial databases and sometimes to federal and state Medicaid programs including

Medi-Cal. The time period covered for this case encompasses from January 1, 1994, and

continuing through December 31, 2004. [See California’s First Amended Complaint, ¶

43.] The general substance of my opinions is briefly summarized here. The remainder

of the report provides more detailed opinions and the bases for my opinions.

       17. The bases for my opinions are the documents and testimony I have reviewed in

this and related litigation, my education and experience as reflected in my curriculum

vitae (Exhibit 1) and my accumulated knowledge and understanding of the

pharmaceutical      industry,   pharmacoeconomics,   government     health     care   policy,

pharmaceutical reimbursement policies and practices, and other related areas.

       18. The federal and state Medicaid programs, during the operative time frame, used

pricing information reported by drug manufacturers, including Dey, Mylan, and Sandoz

to calculate the estimated acquisition cost (EAC) and other reimbursement amounts for a

drug product as a means to pay providers for the ingredient cost of each prescription.




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    19. The prices reported by drug manufacturers, including Dey, Mylan, and Sandoz to

the commercial drug price databases were used by all, or virtually all, state Medicaid

programs as a basis for the formulaic calculation of the reimbursement amount for

prescriptions provided to Medicaid recipients by pharmacies and providers. Specifically,

the Medi-Cal program uses the price information from manufacturers and the commercial

price database in a formula to determine, among other things, the cost of the drug product

which is the lowest of: “the Estimated Acquisition Cost (EAC), the Federal Allowable

Cost (FAC) [also known as the Federal Upper Limit (FUL)], or the [state] Maximum

Allowable Ingredient Costs (MAIC)/Maximum Allowable Product Cost (MAPC) for the

Standard Package size… The price charged to the program shall not exceed that charged

to the general public.” [Cal. Code Regs. tit. 22 §51513(a)(11), effective 3-1-95; see also

Cal. Code Regs. tit. 22 §51513(b)(1)(A), effective 3-1-95].

    20. Drug manufacturers, including Dey, Mylan, and Sandoz were aware that the state

Medicaid programs, and specifically Medi-Cal, based their estimated acquisition cost

(also known as the drug product ingredient cost) reimbursements on manufacturers’

reports of drug product prices to the commercial price databases (i.e., First DataBank in

the case of Medi-Cal). Drug manufacturers, including Dey, Mylan, and Sandoz were

aware that the Medi-Cal program intended to use the manufacturer reported prices (i.e.,

AWP) to commercial price databases (i.e., First DataBank in the case of Medi-Cal) as the

basis for “the Department’s best estimate of the price generally and currently paid by

providers for a drug product sold by a particular manufacturer or principal labeler in a

standard package.” [Cal. Code Regs. tit. 22 §51513(a)(6), effective 3-1-95].




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    21. The general intent of the federal and state Medicaid programs was published in a

Health Care Financing Administration (HCFA) memo to State Medicaid Directors as far

back as 1977 as early as 1987 in federal regulations [42 CFR Part 447.301; see also Fed

Reg, Vol. 52, No. 147, July 31, 1987, pp. 28648-58], and this intent has been routinely

referenced in the annual volumes of the National Pharmaceutical Council’s publication

“Pharmaceutical Benefits Under State Medical Assistance Programs” (also referred to as

the “NPC Medicaid Book”), and other places.         Sandoz directly and later through

Novartis, has been a member of the National Pharmaceutical Council throughout the

entire period at issue in this case. Dey was also aware of, and referenced, the National

Pharmaceutical Council publications on Medicaid program reimbursement in internal

documents and communications as far back as 1995. [Memo from Dey Laboratories to

Beth Raider, Price Alert and Pharmacy Blue Book Update, May 30, 1995, attachment

“Medicaid Rx Reimbursement Report, Drug Topics, February 6, 1995, Source: National

Pharmaceutical Council]. The size and importance of the Medicaid program is so great

that any key person in an area such as marketing, pricing and reimbursement, product

management, or business strategy at a pharmaceutical company would have to be aware

of the payment policies of Medicaid, or at least of where to find information on such

policies. Key personnel at major pharmaceutical companies, including Dey, Mylan and

Sandoz, would have been aware of the Medicaid payment policies, NPC Medicaid Book,

and most probably had a copy of the NPC book in their offices.

    22. The federal regulations regarding payment for prescription drugs under Medicaid

were amended in 1987 to include the definition which states that “estimated acquisition

cost means the agency’s best estimate of the price generally and currently paid by




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providers for a drug marketed or sold by a particular manufacturer or labeler in the

package size of drug most frequently purchased by providers.” [42 CFR Part 447.301; see

also Fed Reg, Vol. 52, No. 147, July 31, 1987, pp. 28648-58]. Throughout the relevant

time period and indeed up until the time of this report (June 2009) the regulation defining

estimated acquisition cost remained in effect.

    23. Drug product prices had been routinely reported by manufacturers to the drug

price compendia, such as Blue Book (First DataBank), MediSpan, and Red Book during

the time frame of this complaint. Brand name prescription drugs accounted for 80% to

90% of Medicaid program expenditures from 2004 back to 1994 at the beginning of the

time period for this case. The prices of drug products, and especially brands, reported by

drug manufacturers to drug price compendia traditionally had a predictable relationship

to actual market prices generally and currently paid by pharmacies in the marketplace,

except for instances where a manufacturer for its own reasons chose to report prices with

inflated relationships when compared to the actual prices that were generally and

currently paid by pharmacies in the marketplace. This behavior of certain drug

manufacturers, especially generics, has resulted in reported prices (i.e., AWP) that have

become inflated progressively over time. In addition, the AWPs, especially for generics,

have become increasingly arbitrary and have an unreliable relationship to actual prices

generally and currently paid by providers.

    24. Policymakers and both Medicaid and Medi-Cal program administrators were

generally unaware of the conduct of certain drug manufacturers whereby reported prices

(i.e., AWP) were inflated well beyond the actual prices in order to engineer an inflated

price spread and to result in inflated reimbursement, including Medi-Cal reimbursement.




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Such practices were brought to the attention of certain government officials by Ven-A-

Care and have been examined over time by various government agencies.

      25. To the extent that Dey, Mylan, and Sandoz reported AWPs to the commercial

drug price databases that were not predictably related to actual prices that Dey, Mylan,

and Sandoz knew were generally and currently paid by customers, then Dey, Mylan, and

Sandoz engaged in the conduct, described above, whereby some drug manufacturers have

caused AWP and other price reports to become decreasingly representative of actual

prices generally and currently paid by pharmacies in the marketplace. This pricing

behavior has caused increases in Medi-Cal reimbursement amounts that were unintended

by, and unknown to, the Medi-Cal drug programs.

      26. As described later in this report, the reporting of inflated price information to the

compendial sources (i.e., Blue Book, MediSpan, or Red Book), which Dey, Mylan, and

Sandoz knew would result in an inflated AWP being published, also led to the inflation of

Medi-Cal reimbursement amounts when compared to the actual prices at which the drug

products were sold.



IV.       OVERVIEW OF THE PHARMACEUTICAL MARKET

      27. Prescription drugs are the most widely used method for treating medical and

health-related conditions. In 1996, the total retail prescription sales1 in the U.S. were

reported to be about $72 billion and, by 2006, total retail prescription sales had grown to

nearly $250 billion. The total number of outpatient prescriptions grew from 2.2 billion in


1
    Total retail sales as defined by IMS Health includes outpatient prescription sales of independent
    pharmacies, traditional chain pharmacies, supermarket pharmacies, mass merchandiser pharmacies, and
    mail order pharmacies. [IMS Health data as reported by the National Association of Chain Drug Stores
    on its website (http://www.nacds.org/wmspage.cfm?parm1=507), May 7, 2007].


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1996 to 3.4 billion in 2006 and with adjustment for mail order prescriptions (that is, 3

months supply per prescription counted as 3 one-month prescriptions) was equal to about

3.9 billion monthly prescriptions. This prescription volume represents about 13

prescriptions per person per year in the United States in 2006.

    28. The expenditure on prescription drugs is a substantial share of the total national

health expenditures. Outpatient prescription drugs accounted for about 10.1% of national

health expenditures in 2005. [U.S. Department of Health & Human Services (DHHS),

Office of the Actuary, National Health Accounts, 2004. Note: The health spending

projections were based on the 2004 version of the NHE released in January 2006 with

data for years from 2005 to 2015 projected]. However, when prescription drug spending

in all other sectors of the national health accounts (i.e., hospitals, physicians and clinics,

long term care, home health, dentists, managed care, active military and military retirees,

public health service, 340B facilities, the Veterans Administration and other settings) is

taken into account, the expenditure on prescription drugs is approximately 17.5% of

national health expenditures.

    29. Since before 1990, outpatient prescription drug expenditures have been growing

at a rapid rate. The annual growth rate in prescription drug spending has been in double

digits for nearly all of the 15-year period from 1991 to 2006. Outpatient prescription drug

spending in the 1990s, and the first part of the present decade, has grown considerably

faster than health care spending overall. [U.S. DHHS, Office of the Actuary, National

Health Accounts, 2004 version, released January 2006].




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A.        Channels of Distribution

     30. In a broad sense, the structure of the pharmaceutical market can be described by

two major features: (1) the channels of distribution for prescription drugs, or how the

drug products flow through the market, and (2) the sources of payment for prescription

drugs, or how the dollars flow through the market. These two structural perspectives are

discussed in one of my reports for the Centers for Medicare & Medicaid Services.

[Schondelmeyer, SW and Wrobel, MV, Medicaid and Medicare Drug Pricing: Strategy

to Determine Market Prices, CMS Contract # XXX-XX-XXXX, Task Order 1, August 30,

2004, pp. 9-13].

     31. First, regarding channels of distribution, there are three primary levels in the

distribution channel: (1) manufacturer or marketer, (2) wholesaler, and (3) pharmacy or

other provider. Each of these channels of distribution and its role in the market was

described in my 2004 report to CMS titled Medicaid and Medicare Drug Pricing:

Strategy to Determine Market Prices. [Schondelmeyer and Wrobel, Medicaid and

Medicare Drug Pricing, 2004, pp.9-11]. The following sections are excerpted from that

report:

              Channels of distribution for prescription drug products are the pathways that
          drug products follow from the pharmaceutical manufacturer to the patient who
          ultimately uses the medication. There are three primary levels in the distribution
          channel: (1) manufacturers, (2) wholesalers, and (3) providers. Manufacturers
          and marketers reported $215.7 billion in revenue from prescription drugs in
          2002. The flows of these drug products through various channels of distribution
          are depicted in Exhibit 4. [Attachment 2 in this report].

     32. The role of manufacturers and marketers in the pharmaceutical market was also

described in my 2004 report to CMS [Schondelmeyer and Wrobel, Medicaid and

Medicare Drug Pricing, 2004, pp. 9-10] as follows:




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            The manufacturer level is the starting point for prescription drugs as they
        begin their movement through the various channels of distribution. Any firm that
        manufactures or sells a prescription drug in the United States must hold a new
        drug application (NDA) or an abbreviated new drug application (ANDA) issued
        by the U.S. Food & Drug Administration (FDA). However, other firms may
        market a prescription drug without holding either an NDA or an ANDA, if such a
        firm has entered into a licensing agreement with an NDA or ANDA holder.

            Every firm that markets a prescription drug in the United States must register
        with the FDA to obtain a unique national drug code (NDC) number (11-digits)
        for each drug product marketed. The first part of the NDC, the labeler code (5-
        digits), uniquely identifies the firm marketing the drug product. The second
        segment, the product code (4-digits), identifies a specific strength, dosage form,
        and formulation for a given drug product. The third segment, the package code
        (2-digits), identifies package sizes and package types (e.g., bulk, unit dose, or
        unit of use). Both the product and package codes are assigned by the firm and
        not by the FDA.

            Manufacturers or marketers, who want to be assured that the Medicaid
        program will cover their drug products, must sign a national drug rebate
        agreement with the Secretary of the Department of Health and Human Services
        in order for states to receive federal funding for outpatient drugs dispensed to
        Medicaid patients. Not all NDC holders participate in the Medicaid Drug Rebate
        program. Approximately 544 pharmaceutical companies (or labelers) currently
        participate in the Medicaid Drug Rebate Program.

    33. The role of wholesalers and distributors in the pharmaceutical market was

described in my 2004 report to CMS [Schondelmeyer and Wrobel, Medicaid and

Medicare Drug Pricing, 2004, pp. 10-11] as follows:

             Manufacturers or marketers of prescription drugs most often sell their drug
        products to a middleman, or intermediate level, before the drug product reaches
        the pharmacy or physician that will provide the drug to the patient. National
        wholesalers are the primary intermediate level in the channel of distribution
        process accounting for 45.7 percent of prescription drugs ($98.5 billion) in 2002,
        (see Exhibit 4) [Attachment 2 in this report]. Other intermediate channels of
        distribution include chain warehouses with 32.3 percent ($69.8 billion) of the
        market, regional and specialty wholesalers with 9.3 percent ($20.2 billion) of the
        market, and group purchasing organizations that usually contract with a
        wholesaler to perform the distribution function on their behalf. About 12.6
        percent of prescription sales by drug manufacturers are made directly to
        providers (e.g., physicians or hospitals) or pharmacies.

            The principal trade organization representing wholesalers in the United
        States is the Healthcare Distribution Management Association (HDMA). In
        2002, the HDMA reported that there were more than 72 distributor companies




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         operating approximately 242 distribution centers.2 On average, these distribution
         centers handle more than 21,000 different healthcare items. More than one-half
         of the items distributed (about 11,000) are prescription pharmaceuticals and
         biologics, and the additional items include “over-the-counter and herbal products,
         health and beauty aids, medical and hospital supplies, durable medical equipment
         and home healthcare items.”3 The three largest wholesalers (Cardinal Health,
         AmeriSource Bergen, and McKesson) each have about 32 percent of the national
         market and collectively account for 97 percent of the drug sales that flow through
         national wholesalers and 83 percent of all wholesalers (national, regional, and
         specialty). Wholesalers add a markup and fees to the manufacturer’s drug
         product cost to cover the cost of distribution and other services they provide.
         The total wholesaler gross margin averaged about 4.3 percent in 2002 with a
         range from 3.7 to 5.5 percent for the 25th and 75th percentile. These costs are
         added to the manufacturer’s drug product cost and passed on to the pharmacy or
         provider purchasing through a wholesaler.

             In addition to full-line national wholesalers, there are also regional and
         specialty wholesalers that handle just under 10 percent of manufacturer drug
         sales. Regional wholesalers are usually similar to the national full-line
         wholesalers, but they typically have only one or a few distribution centers limited
         to a relatively small geographic region. Specialty wholesalers, in contrast, may
         have a national market presence, but instead limit the types of drug products
         stocked to a very narrow set. Specialty wholesalers may focus on generic drugs,
         biological agents, or drugs for a specific therapeutic purpose such as oncology,
         dialysis, or HIV therapy. Specialty wholesalers may also focus on serving
         certain facility types such as long term care pharmacies, home health agencies, or
         hospice facilities.

             Group purchasing organizations (GPOs) may act on behalf of a group of
         providers to negotiate price with drug manufacturers. Most group purchasing
         organizations, however, do not ever take possession of, or handle, the drug
         product. Instead, GPOs often will contract with a traditional wholesaler to
         perform the wholesaling and distribution function on behalf of the GPO and its
         members.

              A number of large chain pharmacies have developed and operate their own
         distribution centers rather than purchasing drug products through traditional
         wholesalers. Chain warehouses accounted for 32.3 percent ($69.8 billion) of all
         prescription drug sales by drug manufacturers in 2002. Chains that operate their
         own warehouses incur expenses similar to those seen by traditional wholesalers
         (range from 3.7 to 5.5 percent). When a chain pharmacy performs the
         warehousing function in addition to the retail distribution and counseling
         functions, the chain does have additional costs similar to those that a wholesaler
         would have added to the manufacturer’s drug product cost.




2
  Healthcare Distribution Management Association, 2002 HDMA Industry Profile and Healthcare
  Factbook, 2002, p. xi.
3
  HDMA, 2002 HDMA Industry Profile and Healthcare Factbook, 2002, p. xi.


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     34. The role of pharmacies and providers in the pharmaceutical market was described

in my 2004 report to CMS [Schondelmeyer and Wrobel, Medicaid and Medicare Drug

Pricing, 2004, p. 11] as follows:

            The final step in the channel of distribution for pharmaceuticals comes when
        the pharmacist or physician provides the drug to the patient. In most cases,
        except for mail order pharmacies, this provision of the drug to the patient results
        from a face-to-face encounter with the patient. In addition to providing the drug
        product, the pharmacist is also responsible for taking steps to assure safe and
        effective drug use such as: development of a patient profile to screen for drug
        interactions, contraindications, and duplicate therapy; counseling the patient on
        appropriate use; and other similar activities. The physician has similar
        responsibilities and, in most Part B cases, administers the drug in conjunction
        with other services.

             There are a number of types of pharmacies and providers as shown in
        Exhibit 4 [Attachment 2 in this report]. Community-based pharmacies accounted
        for the largest share (52.6 percent or $113.3 billion) of manufacturer prescription
        drug sales in 2002. Community pharmacy includes traditional chain pharmacies
        (e.g., Walgreen’s or CVS), mass merchant pharmacies (e.g., Wal-Mart or K-
        Mart), food and drug pharmacies (e.g., Kroger or Safeway), and independent
        pharmacies (i.e., locally-owned corner drug stores). Mail order pharmacies
        accounted for 13.3 percent ($28.7 billion) of manufacturer prescription drug sales
        in 2002.

            Health plan pharmacies purchased only 1.0 percent ($2.3 billion) of all
        prescription drugs sold by manufacturers. These purchases were made by
        managed care plans (HMOs and PPOs) with their own in-house pharmacies
        where the health plan takes possession of drug product inventory and dispenses
        prescriptions directly to patients. The vast majority of managed care plans
        contract with a network of community pharmacies for provision of prescription
        drugs or with a pharmacy benefit manager (PBM) to administer the benefit for
        the managed care plan.

            Other endpoints to the channels of distribution include: clinics and
        physicians’ offices (1.0 percent; $2.3 billion); long term care pharmacies (4.4
        percent; $9.5 billion); hospital pharmacies (15.9 percent; $34.3 billion); and
        government facilities and other government programs (4.4 percent; $9.6 billion).

B.      Sources of Payment

     35. There are three basic sources of payment for prescriptions: (1) self-pay or cash-

pay individuals, (2) private third party insurance coverage, and (3) public (government)

third party insurance coverage. The role of each source of payment in the prescription




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drug market was described in my 2004 report to CMS [Schondelmeyer and Wrobel,

Medicaid and Medicare Drug Pricing, 2004, p. 11] as follows:

            Payments for prescription drug products may come from one, or more,
        sources including: the patient as an individual (termed “self-pay” or “cash-pay”);
        private insurance; public insurance (Medicaid and Medicare); or government
        delivered and financed health care. Various prescription drug programs are
        managed by Pharmacy Benefit Managers (PBMs) and engage networks of
        pharmacies and providers to deliver prescription drugs. [See Attachment 3 in this
        report].

    36. The payment for prescriptions through cash or self-pay by individuals was

discussed in my 2004 report to CMS [Schondelmeyer and Wrobel, Medicaid and

Medicare Drug Pricing, 2004, pp. 12] as follows:

             Self-pay, or cash, prescriptions represent a shrinking part of the outpatient
        prescription market. In 1992, more than one-half (55.6 percent) of all outpatient
        prescriptions were self-pay. By 1997, self-pay prescriptions had shrunk to 29.1
        percent and in 2002 and 2003 they represent less than 15 percent of outpatient
        prescriptions. The dramatic reduction in cash pay prescriptions has also greatly
        reduced the pharmacy’s pricing flexibility. The pharmacy has some control over
        setting the price for cash pay prescriptions, but it has little control over the prices
        paid by public and private third party programs. Although mail order programs,
        private PBMs and drug discount cards all claim to compare their prices against
        usual and customary retail prices, the disappearance of the cash pay retail
        prescription market renders the concept of “usual and customary retail price”
        almost meaningless.

    37. The payment for prescriptions by private third parties (e.g., insurance and

managed care) was discussed in my report to CMS [Schondelmeyer and Wrobel,

Medicaid and Medicare Drug Pricing, 2004, pp. 12] as follows:

            The share of outpatient prescriptions covered in part, or in whole, by private
        third party programs has grown substantially over the past decade from 30.1
        percent in 1992 to 73.0 percent in 2002 and 2003. Most of these third party
        prescriptions are managed through PBMs and networks of pharmacies that have
        contracted to participate in these networks. Most pharmacists report that PBMs
        have most of the negotiating power in these networks, especially given their
        growing market share and the dominance of a few large PBMs.




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    38. The payment for prescriptions through public third parties (e.g., Medicare and

Medicaid) was discussed in my report to CMS titled [Schondelmeyer and Wrobel,

Medicaid and Medicare Drug Pricing, 2004, pp. 12-13] as follows:

            The Medicaid program is the single largest third party program (public or
        private) for prescription drug coverage. In 1992, Medicaid paid for 14.3 percent
        of all outpatient prescriptions and by 1997 the Medicaid share had dropped to
        11.7 percent. The Medicaid share of outpatient prescription(s) has grown again
        over the last five years to 13.0 percent of outpatient prescriptions. Medicaid
        recipients in some states may pay modest co-payments. However, under certain
        circumstances if the patient can not pay the copay the pharmacy may still be
        required to dispense the prescription and the pharmacy may not be able to
        recover the lost copay from either the patient or the Medicaid program.

            Part B of Medicare paid for approximately 4 percent of total prescription
        drug expenditures in 2002. Once the MMA prescription drug benefit is
        implemented (January 1, 2006), Medicare (Parts B and D) will become the single
        largest third party program easily surpassing the Medicaid program. Medicare
        Part B beneficiaries are currently responsible for 20 percent of the cost of their
        covered medication, a sum that may be a substantial burden in cases in which
        beneficiaries do not have other insurance.



    39. Collectively, third party prescriptions (private and government, such as Medicaid)

grew from 70% of the prescription dollars and 67% of the prescriptions in 1996 to 91%

of the prescription dollars and 89% of the prescriptions in 2005. With the institution of

the Medicare Part D prescription drug program in 2006, the public third party share of the

source of payment for prescriptions had a substantial jump, with all third parties (private

and public) now covering the vast majority (greater than 92%) of all prescriptions.

[National Association of Chain Drug Stores (NACDS), The Chain Pharmacy Industry

Profile, annual editions from 1998 to 2005. Data was from IMS Market View, as reported

in Novartis Pharmacy Benefit Report for 1996 to 2001 and from NDC Health (a health

care information company) from 2002 to 2006]. Conversely, the share of prescriptions




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paid for entirely by cash or the individual shrank to well under 10% of all prescriptions in

2006.



V.       OVERVIEW OF PHARMACEUTICAL PRICING

      40. There have been a number of signals raising concern over drug prices in the

pharmaceutical market in recent years (i.e., since 2001). These signals regarding pricing

behaviors in the pharmaceutical market were succinctly described in my 2004 report to

CMS that was titled Medicaid and Medicare Drug Pricing: Strategy to Determine Market

Prices [Schondelmeyer and Wrobel, Medicaid and Medicare Drug Pricing, 2004, p. 2] as

follows:

             A number of signals in the market have raised concern about prescription
         drug prices and expenditures to the top of the public policy agenda. First,
         outpatient drug expenditures in both public and private programs have been
         growing at an annual rate of 15 to 20 percent since the mid-1990s—a rate that is
         more than double the rate of growth in total health spending (i.e., Medicaid total
         expenditures grew 7.7 percent per year from 1997 to 2000).4 Second,
         prescription drugs are the fastest growing sector of Medicaid programs, which, in
         turn, are one of the largest segments of state spending at a time when states are
         facing record deficits.5 Third, the prices paid for prescription drugs by the
         Medicaid and Medicare programs have come under question compared to the
         prices paid by other sectors of the market.6 For example, most other government
         programs (i.e., the Veterans Administration, and the 340B program for federally
         qualified facilities) pay less for prescription drugs than do the Medicaid or
         Medicare Part B programs, even after accounting for rebates.7 Fourth, there is
         evidence that drug manufacturers have ‘gamed’ the pricing policies of both
         Medicare Part B and the Medicaid drug rebate program in a manner that creates
         economic incentives that lead to increased rather than decreased drug


4
  Gencarelli, Dawn M., Medicaid Prescription Drug Coverage: State Efforts to Control Costs, National
  Health Policy Forum, George Washington University, NHPF Issue Brief No. 790, May 10, 2003.
5
  Lav, Iris J. and Johnson, Nicholas, “State Budget Deficits for Fiscal Year 2004 are Huge and Growing,”
  Center on Budget and Policy Priorities, revised January 23, 2003; accessed February 3, 2003, at
  http://www.cbpp.org/12-23-02sfp.pdf.
6
  US House of Representatives, Committee on Energy and Commerce, Subcommittee on Health and the
  Subcommittee on Oversight and Investigations, Hearing, September 21, 2001.
7
  Schondelmeyer, Stephen W. “Estimated Relative Price Compared to AWP for Prescription Drugs at
  Manufacturer Level,” Chart 4, p.10 as found in von Oehsen, William H., III, Ashe, Marice and Duke,
  Kathryn, Pharmaceutical Discounts Under Federal Law: State Program Opportunities, Public Health
  Institute, Pharmaceuticals and Indigent Care Program, Oakland, CA, May 2001.


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         expenditures.8,9,10 Fifth, legislation to cover outpatient prescription drugs under
         Medicare has recently been passed by the U.S. Congress and is set for an
         ambitious implementation schedule over the next year and one-half.11

      41. The prescription drug market is characterized by “reverse, perverse economics”

stemming from, inter alia, the following facts: (1) this is not a normal supply and demand

market, (2) the vast majority of prescriptions are paid for by third party payers, and (3)

different players in the system decide what medication is needed (the physician) and

which particular medication is dispensed (the pharmacist), as well as which drug products

are preferred (the PBMs), and all of these players are different from the ultimate payer

(employer, government or individual) or the patient. There is little price transparency at

most levels of the market. The third party reimbursement system has even led certain

participants in the market to prefer the establishment and maintenance of high prices in

various sectors of the market for their own benefit and to the detriment of the ultimate

payer or patient.

      42. Observation of prices in the pharmaceutical market requires an understanding of

the elements, or attributes, that define a specific drug price term and an awareness of the

sources of variation in price in the market.

A.       Elements and Attributes of Drug Pricing Terms

      43. There are several important and essential elements, or attributes, to any drug price

that must be understood in order to know the meaning of a specific price for a specific

drug product. These elements of a drug price were described in my report to CMS titled

Medicaid and Medicare Drug Pricing: Strategy to Determine Market Prices


8
   “2 Drug Makers to Pay $875 Million to Settle Fraud Case,” New York Times, Oct. 4, 2001.
9
   “AstraZeneca Pleads Guilty in Cancer Medicine Scheme,” New York Times, June 21, 2003.
10
   “Bayer Agrees to Pay U.S. $257 Million in Drug Fraud,” New York Times, April 17, 2003.
11
   “Medicare Bills Would Add Drug Benefits: Prescription Drug Benefit Is Key To Biggest Changes in 38
   Years,” Washington Post, June 27, 2003, p. A01.


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[Schondelmeyer and Wrobel, Medicaid and Medicare Drug Pricing, 2004, pp. 13-14] as

follows:

        * list or transaction: list prices are published by manufacturers; transaction
        prices stem from actual transactions and hence represent both the supply and the
        demand side of the market;

        * level of the market involved: drug product transactions occur at different levels
        in the market such as the manufacturer, wholesaler, or provider (e.g., pharmacy,
        physician, hospital, etc.) levels;

        * classes of trade eligible for the price: providers are grouped by each
        manufacturer into various classes of trade based on the structure of the
        pharmaceutical market (e.g., independent pharmacies, chain pharmacies, mail
        order pharmacies, long term care pharmacies, hospitals, physicians, etc) and the
        manufacturer’s average selling price usually varies across classes of trade;

        * type of drug product: drug products may be grouped by their patent and
        exclusivity status into three broad groups that have different pricing patterns such
        as single source (patent and exclusivity protected brands), innovator multiple
        source (off-patent brands), and non-innovator multiple source (generics or
        branded generics) drug products;

        * adjustments to price that have or have not been taken into account: the
        invoice price for drug products may not reflect all adjustments to prices such as
        discounts, rebates, purchasing allowances or other forms of economic
        consideration;

        * source of the price information: price information can be collected from
        different sources such as the manufacturer, wholesaler, provider, or a third party
        program;

        * effective time when price is available: manufacturers determine when and how
        much the price of a drug product will change and the providers’ costs are affected
        by price changes immediately upon implementation of a price change. The
        timing of when third party programs update their price reimbursement files (e.g.,
        immediately or based on retrospective data) can have a substantial impact on
        providers; and

        * relationship to other prices: AWP and WAC are primarily used as benchmark
        prices rather than as actual transaction prices, but most other types of prices,
        discounts, rebates, and methods of third party reimbursement are expressed in
        relationship to one of these benchmark prices (AWP or WAC).

B.      Description of Key Drug Pricing Terms

     44. There are several key drug price terms commonly used in the prescription

pharmaceutical market in the United States. Discussed here will be the terms: wholesale


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acquisition cost (WAC), average wholesale price (AWP), direct price (DP), earned

discounts, and actual acquisition cost (AAC). These pricing terms as they have been used

in statute or regulation related to Medicaid, Medicare or other third party programs, as

well as other drug pricing terms that serve more specialized roles, are discussed

elsewhere in this report. These drug pricing terms in the context of 2004 were described

in my report to CMS titled Medicaid and Medicare Drug Pricing: Strategy to Determine

Market Prices [Schondelmeyer and Wrobel, Medicaid and Medicare Drug Pricing, 2004,

pp. 14] as follows:

        Wholesale Acquisition Cost (WAC). The Wholesale Acquisition Cost (WAC) is
        a list price used for invoices between drug manufacturers and wholesalers and is
        typically used as a benchmark for all classes of trade without adjustment for
        discounts, rebates, purchasing allowances, or other forms of economic
        consideration. The WAC is set and published by drug manufacturers with an
        effective date and remains in effect until a change in price is published. Some
        drug manufacturers have other names for this price such as list price, catalog
        price, or book price. In the past decade, WAC was a term that typically included
        adjustments for discounts, rebates, purchasing allowances, or other forms of
        economic consideration. More recently, WAC has come to mean a list price
        before any form of price adjustment. WAC is closer to wholesaler’s actual
        acquisition cost than is AWP. However, due to different levels of discounts
        across drug products and specific classes of trade, the WAC does not generally
        have a reliable relationship to the actual acquisition cost. Within a specific class
        of trade, WAC may have a consistent relationship with the actual acquisition cost
        for single source brand name (patented and exclusivity protected brands) drug
        products, but not for innovator multiple source (off-patent brands) or non-
        innovator multiple source (generic) drug products. If WAC is to be used to
        estimate a price from wholesaler to provider (i.e., pharmacy, physician, or
        others), an adjustment must be made to account for the wholesaler (or chain
        warehouse) operating cost and a reasonable profit.

        Average Wholesale Price (AWP). The Average Wholesale Price (AWP) is a list
        price used for invoices between drug wholesalers and pharmacies or other
        appropriate drug purchasers and is typically used as a benchmark for all classes
        of trade without adjustment for discounts, rebates, purchasing allowances, or
        other forms of economic consideration. The AWP is set directly, and published,
        by most drug manufacturers with an effective date and remains in effect until a
        change in price is published. Some drug manufacturers argue that they do not set
        the AWP, but instead either the wholesaler or the drug price databases set the
        AWP. Even when the AWP is actually calculated by a wholesaler or a drug price
        database, these sources typically calculate the AWP as a fixed percentage above
        the WAC (i.e., typically 20 or 25 percent above WAC for brand name drugs) so



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        that, in effect, by setting the WAC the drug manufacturer also sets the AWP for a
        drug product. AWP has been a term that typically does not include adjustments
        for discounts, rebates, purchasing allowances, or other forms of economic
        consideration. The AWP is typically 20 to 25 percent above the WAC for brand
        name drugs, but may be considerably higher (20 to 70 percent) than WAC for
        generic drugs. Because of different levels of discounts across drug products and
        specific classes of trade, the AWP does not generally have a reliable relationship
        to the actual acquisition cost. Within the retail class of trade, AWP may have a
        consistent relationship with the actual acquisition cost for single source brand
        name (patented and exclusivity protected brands) drug products, but not for
        innovator multiple source (off-patent brands) or non-innovator multiple source
        (generic) drug products.

        Direct Price (DP). The Direct Price (DP) is a list price used for invoices
        between drug manufacturers and pharmacies or providers and is typically used as
        a benchmark for all classes of trade without adjustment for discounts, rebates,
        purchasing allowances, or other forms of economic consideration. The DP is set
        and published by drug manufacturers with an effective date and remains in effect
        until a change in price is published. Many drug manufacturers have a wholesale
        only policy and do not sell directly to pharmacies or providers, while other drug
        firms establish a direct price and do sell drug product directly. Direct purchases
        are often subject to minimum order quantities and, therefore, direct purchases
        may not be practical or economically efficient for many purchasers.

        Certain direct purchasers (i.e., physicians, but typically not pharmacies) may
        benefit from delayed invoice dating (e.g., payment is not due for 60 or 90 days)
        from the manufacturer. The DP for some manufacturers is the same as the WAC,
        while for others the DP may be slightly higher (by 3 to 5 percent) than WAC.
        Because of different levels of discounts across drug products and specific classes
        of trade, the DP does not generally have a reliable relationship to the actual
        acquisition cost. Within the retail class of trade, DP may have a consistent
        relationship with the actual acquisition cost for single source brand name
        (patented and exclusivity protected brands) drug products, but not for innovator
        multiple source (off-patent brands) or non-innovator multiple source (generic)
        drug products. However, use of direct price to estimate pharmacy or provider
        acquisition cost must take into account the added cost of acquisition. A larger
        share of generic drugs, than of brand-name drugs, is sold direct from the
        manufacturer. Because of different levels of discounts, the DP does not have a
        reliable relationship to the actual acquisition cost, in general, or for specific
        classes of trade.

        Earned Discounts. Earned discounts are transactional discounts based on
        efficient business practices of the pharmacy or physician purchasing drug
        products from either a wholesaler or a drug manufacturer. The earned discount is
        usually expressed in terms such as ‘2-10 Net 30’, meaning 2 percent discount off
        of the total invoice amount if paid within 10 days and the full invoice amount is
        due if paid between 11 and 30 days. Earned discount terms are set by the
        wholesaler or the manufacturer and are usually stated on the invoice. In some
        cases, manufacturers offer substantially greater delayed invoice payment to
        certain classes of trade (e.g., direct physician purchasers) that allow the purchaser
        to sell and collect for the drug product before the payment to the manufacturer is


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        due (e.g., payment is not due for 60 or 90 days). These greatly delayed invoice
        terms would not typically be called ‘earned discounts’. Different levels of
        ‘earned discounts’ and ‘other delayed term discounts’ are available to different
        classes of trade. The earned discounts will usually have a reliable relationship to
        actual acquisition cost, but not necessarily to AWP or WAC. The treatment of
        earned discounts in estimating actual acquisition costs of a pharmacy or provider
        should be consistent with the actual payment terms of a given third party when
        reimbursing pharmacies or providers.

        Actual Acquisition Cost (AAC). The Actual Acquisition Cost (AAC) is a
        transaction price used to describe the price paid by a pharmacy or provider when
        purchasing a drug product from either a drug manufacturer or wholesaler. The
        invoice price and all on-invoice, as well as off-invoice, adjustments for discounts,
        rebates, purchasing allowances, or other forms of economic consideration are
        taken into account. This price is the appropriate conceptual basis for the payment
        policy.

        The AAC is set by the drug manufacturer, but, historically, has not been
        published or made public. Some drug manufacturers may have a variety of terms
        for specific discounts that are based on class of trade, volume of purchase,
        market share movement, preferred formulary status, terms of payment, bundling
        of products, and other criteria. AAC is meant to be the net price after all forms
        of discount, rebate, purchasing allowances or any other forms of economic
        consideration have been taken into account. Arguably the discounts that
        contribute to AAC are considered proprietary and confidential by drug
        manufacturers. Consequently, the relationship of AAC to either AWP or WAC is
        not predictable from public data sources in general, or for specific classes of
        trade. For single source brand name drugs that do not typically have discounts
        beyond on-invoice ‘earned discounts’, the AAC may have a reasonably
        predictable relationship to AWP or WAC.

    45. The definition and understanding of these, and certain other drug price terms,

should be viewed in historical perspective and in context. As noted above, for example,

in the context of the compendia that have been used as public sources of pricing

information, AWP came to be used as a reference to the price on invoices from the

wholesaler to the pharmacy. I am also aware that Judge Saris has examined the meaning

of the term AWP in the Medicare context and determined that the term should be given

its plain meaning in accordance with established principles of statutory construction. The

historical context should also be considered; for example, in the early 1990s, a report to

HCFA (now CMS) on the adequacy of reimbursement rates to pharmacies provided a



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definition of key drug pricing terms. [Adams, Kathleen and David H. Kreling,

Assessment of Adequacy of Reimbursement Rates to Pharmacies and Its Impact on the

Access to Medication and Pharmacy Services by Medicaid Recipients, HCFA Contract

No. XXX-XX-XXXX, Delivery Order No. 3, August 25, 1993, p.4].

    46. This 1993 report to HCFA on pharmacy reimbursement defined the following

drug price terms:

        *   Actual Acquisition Cost (AAC) – Pharmacist's net payments made to purchase a drug
            from any source (e.g., manufacturer, wholesaler) net of discounts, rebates, etc.
        *   Estimated Acquisition Cost (EAC) – An estimate of pharmacies' actual acquisition
            costs that are made by the States and other third-party payers.
        *   Maximum Allowable Cost (MAC) – A maximum dollar amount for which the
            pharmacist is reimbursed for selected products.
        *   Average Manufacturer’s Price (AMP) – The average price paid by wholesalers to
            manufacturers for products to be distributed to retailers.
        *   Average Wholesale Price (AWP) – The manufacturer's suggested wholesale price to
            the retailer which is listed in either the Red or Blue Book.
        *   Wholesale Acquisition Cost (WAC) – The wholesaler’s net payment made to
            purchase a drug product from the manufacturer, net of purchasing allowances and
            discounts.

            [Adams, Kathleen and David H. Kreling, Assessment of Adequacy of
            Reimbursement Rates to Pharmacies and Its Impact on the Access to Medication and
            pharmacy Services by Medicaid Recipients, HCFA Contract No. XXX-XX-XXXX,
            Delivery Order No. 3, August 25, 1993, p.4].

    47. In this 1993 report to HCFA, the term ‘actual acquisition cost’ had essentially the

same meaning as it did in the 2004 report to CMS. That is, AAC represents the net

transaction price paid by a pharmacy or provider. Similarly, the AWP as described by

the authors of both reports is a price reported, directly or indirectly, by the drug

manufacturer as the suggested price from the wholesaler to the retailer. The relationship

of AWP to actual transaction prices, however, has not been consistent over time or across

types of drug products, such as the use of this term with respect to brand name and

generic drug products.




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     48. Notably, the definition of WAC appears to have changed over time. In 1993

WAC was, or was believed to be, “the wholesaler’s net payment made to purchase a drug

product from the manufacturer, net of purchasing allowances and discounts.” [Adams,

Kathleen and David H. Kreling, Assessment of Adequacy of Reimbursement Rates to

Pharmacies and Its Impact on the Access to Medication and Pharmacy Services by

Medicaid Recipients, HCFA Contract No. XXX-XX-XXXX, Delivery Order No. 3, August

25, 1993, p.4]. By 2004, however, WAC had come to be viewed as a benchmark price

for all classes of trade without adjustment for discounts, rebates, purchasing allowances,

or other forms of economic consideration [MMA; Pub.L. 108-173].

     49. The term ‘estimated acquisition cost’ was defined in the 1993 study for HCFA as

a price intended to be an estimate of the pharmacy’s actual acquisition cost. The

Medicaid program has consistently defined estimated acquisition cost as a price concept

that provides a method to estimate the ‘actual acquisition cost’ to the pharmacy or

provider, as described in a later section. This consistent definition of ‘estimated

acquisition cost’ as an estimate of the pharmacy’s actual acquisition cost was first defined

by Medicaid as far back as 1977 and continues to be defined in the same way as recently

as 2007.

C.      Definition and Determination of Estimated Acquisition Cost (EAC)

     50. Actual drug transaction prices in the market are not readily available to third party

payers, including government entities, on a routine basis, and audits to gather that

information are extremely expensive and time-consuming and frequently result in

outdated and incomplete information. Consequently, the development of a price database




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for payment and reimbursement of prescription drugs requires some means of estimating

acquisition cost for drug products on an ongoing basis.

    51. The estimated acquisition cost was developed as a way to simplify payment for

prescriptions in a manner that was consistent with the Medicaid program’s intent to pay

the actual acquisition cost for a given prescription drug or as close to the actual

acquisition cost as is feasible.    Determining the actual acquisition costs of every

prescription would require auditing literally tens of thousands of prescription drugs on the

market and the price of each drug product to each pharmacy for every time a purchase is

made. Such an audit of actual acquisition costs would be extremely difficult, complex,

and very time-consuming and expensive. Use of audited actual acquisition costs was

simply not feasible.

    52. The Medicaid program chose to base prescription payments on “estimated

acquisition cost.” The intent and definition of estimated acquisition cost dates as far back

as 1977 as described in an HHS document titled, “Limitation on Payment or

Reimbursement for Drugs: Estimated Acquisition Cost (EAC)." This HHS memo to state

Medicaid directors stated “The intention of the final Medicaid regulations on drug

reimbursement is to have each state’s estimated acquisition cost as close as feasible to the

price generally and currently paid by the provider. The states are, therefore, expected to

set their ingredient cost levels as close as possible to actual acquisition cost.” [“HHS

Action Transmittal, HCFA-AT-77-113 (MMB), December 13, 1977. Subject: Title XIX,

Social Security Act: Limitation on Payment or Reimbursement for Drugs: Estimated

Acquisition Cost (EAC).” as reproduced in National Pharmaceutical Council (NPC),

Pharmaceutical Benefits Under State Medical Assistance Programs, 1983, p. 14].




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    53. The term “estimated acquisition cost” (EAC) was further defined as “the price

generally and currently paid by providers for a particular drug in the package size most

frequently purchased by providers.” [42 CFR Part 447.301; see Fed Reg, Vol. 52, No.

147, July 31, 1987, pp. 28648-58.] This description of EAC was reported in the Medicaid

compendium titled Pharmaceutical Benefits Under State Medical Assistance Programs

(NPC Medicaid Book) and published by the National Pharmaceutical Council (NPC).

This description of EAC, emphasizing that this term is supposed to represent a price that

is “as close as feasible to the price generally and currently paid by the provider” or a

similar statement, has been reported in every annual volume of the NPC Medicaid Book

from 1979 to 2007. [For example, see NPC, Pharmaceutical Benefits, 1991, p. 51.; 1994,

p.14; 1999, p.4-55].

    54. California regulations define estimated acquisition cost as “the Department’s best

estimate of the price generally and currently paid by providers for a drug product sold by

a particular manufacturer or principal labeler in a standard package.” [Cal. Code Regs. tit.

22 §51513(a)(6), effective 3-1-95]. This definition is very similar to the one contained in

federal regulation.

    55. Because transaction prices were not readily available in the marketplace and the

AWP was the only price available for all, or virtually all, drug products, most public and

private third party programs use AWP prices, or adjusted versions of this price, as their

means of estimating acquisition cost for drug products. In other words, most private third

party and government payers set their payment formulae for estimating drug product

costs as either a certain percent discount off of wholesale to retail prices (AWP) or in

some cases as a certain percent above the price from manufacturer to wholesaler (WAC).




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    56. The potential methods for states, or CMS, to estimate or determine market prices

for prescription drugs were evaluated in a research project I conducted with colleagues

from Abt Associates, Inc. for the Centers for Medicare & Medicaid Services in 2004.

[Schondelmeyer and Wrobel, Medicaid and Medicare Drug Pricing, 2004, pp. 1-70 plus

Appendices].

    57. In conducting our study of methods to estimate acquisition costs for

pharmaceuticals, we set forth several criteria that would assist in determining the validity

and reliability of the estimation method.          Ideally, the method used for determining

“estimated acquisition cost” should produce cost information for each drug product with

prices that are: accurate and reliable, generally and widely available, current and up-to-

date, transparent and accessible, adequate compensation to providers and pharmacies,

incentives for pharmacies and providers to supply drugs, and incentives for key parties to

provide data. The nature of each of these criteria, as discussed in my 2004 report to CMS

[Schondelmeyer and Wrobel, Medicaid and Medicare Drug Pricing, 2004, pp. 18-19], is

discussed briefly:

        Accurate and Reliable
        The Medicaid and Medicare programs should have access to accurate and
        reliable information regarding the actual acquisition costs for prescription drugs
        for each channel of distribution. Based on such accurate and reliable cost data,
        these programs may decide that the payment rate to pharmacies or physicians
        should include a percent markup on brand name drug product costs, and an even
        greater markup for generic drugs, but this practice should be an explicit decision
        of the policy maker and not an implicit and hidden factor left in the control of the
        pharmaceutical manufacturer. In this context, ‘accuracy’ concerns the degree to
        which the price used in payment policy is close to, or the same as, the amount
        actually paid by a pharmacy or physician for a given drug product. ‘Reliability’
        is the degree to which the price used in payment is consistent for similar
        prescription claims. Based on Markets: Estimated acquisition costs are more
        likely to be accurate if they are based on actual transaction prices in the market
        (i.e., the average selling price). Market or actual prices can be contrasted both to
        list prices, set by manufacturers, and to administered prices, set by the
        government. This approach, however, requires transparency of transaction
        prices.


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        Generally and Widely Available
        Any price list used by the Medicaid or Medicare program should reflect
        ‘generally and widely available prices,’ that is, any (prudent) provider paid
        according to the payment policy should be able to procure drugs at the published
        payment amount. Estimated Separately by Class of Trade: Because actual
        acquisition costs vary by class of trade, the estimation methodology must take
        into account these differentials in order to generate drug product payments that
        are both accurate and reflect generally and widely available prices. For example,
        when a drug manufacturer sets lower prices for one class of trade (e.g.,
        physicians) versus another class of trade (e.g., community pharmacies), the result
        is that the average of the prices across these two classes of trade will overpay the
        class with the lower price (physicians) and will under pay the class with the
        higher price (pharmacies). In addition to class of trade differences, drug product
        prices may differ for other reasons such as geographic or regional (urban versus
        rural) variations. A payment policy that does not account for different
        acquisition costs by class of trade, or other factors, may preclude certain
        providers from the market for reasons beyond their control. For providers within
        the same class of trade, the concept of ‘generally and widely available prices’ is
        appropriate and helpful to assure that a wide spectrum of physicians or
        pharmacies will be willing to participate in the program.

        Current and Up-to-Date
        An effective price list must be based on current prices that are updated regularly.
        Drug prices are set by drug manufacturers and can change whenever the
        manufacturer decides to adjust the price (usually an increase).              Most
        manufacturers change drug product prices every 6 to 12 months with the average
        interval being about 10 to 11 months, however, some drug products may change
        their prices much more frequently. Claritin, for example, in the last three years
        before being switched to over-the-counter status raised its price every three
        months and had a cumulative annual price increase in 2002 of 21.2 percent. If
        provider payments for prescription drugs were being revised only once a year, a
        pharmacy would be losing as much as 20 percent on each Claritin prescription
        dispensed near the end of the year.

        An effective payment policy should not set drug product payment amounts that
        consistently result in an underpayment due to delayed updates of prices. The
        drug product payment database needs to be electronically available using the
        standard electronic data interchange protocols in the prescription marketplace,
        and it needs to be updated on a virtual basis with a minimum of time delay (1
        week or less) in updating price changes.

        Transparent and Accessible
        The price list and payment policy must be readily available to, and clearly
        understood by, market participants. Those covered by the payment policy should
        understand the source of data and how those data are translated into the payment
        policy. In addition, any price list to be used in payment for prescription drug
        products must be in an easily accessible and usable format. This format must be
        compatible with pharmacy and claims processor computer and software systems.
        Obviously, an electronic database is essential for both efficient publication and



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        use. Pharmacy and physician providers must be able to easily confirm current
        payment at the time of prescribing, or dispensing, a prescription.

        Adequate Compensation to Providers and Pharmacies
        While the drug product component of the payment policy should be based on
        actual acquisition costs, the payment policy as a whole should adequately
        compensate providers for the storage, handling, dispensing, and administration of
        prescription drugs and for their professional services. This is essential to ensure
        that beneficiaries have access to quality care, without triggering perverse
        incentives. At present, the margins, or spreads, between drug product payment
        amount and actual acquisition cost may compensate providers (physicians and
        pharmacies) for deficiencies elsewhere in the payment system. If and when the
        method for estimating acquisition costs is altered, it may be desirable to
        reconsider the payment policy as a whole.

        Incentives for Pharmacies and Providers to Supply Drugs
        Any payment scheme creates financial incentives for providers. Ideally, these
        incentives foster quality and cost-effectiveness. Two main dimensions of
        provider incentives have already been discussed. First, adequate compensation
        gives providers incentives to participate in the program and supports beneficiary
        access. Second, payment based on actual acquisition costs creates neutral
        incentives for providers regarding the choice of drug therapy with the result that
        providers are more likely to focus on the choice of therapy that is optimal for the
        patient and economically efficient for the program.

        Incentives for Key Parties to Provide Data
        Pricing data will be needed from various levels in the market to determine
        appropriate payment amounts. If the program establishes fair, but not excessive
        prices, providers will be more likely to participate in good faith than if the
        program tries to implement below-market prices that overly squeeze the
        provider’s margins. In addition, terms must be clearly defined so that firms
        understand what data they are expected to submit and so that analysts understand
        what data they have received.

        Authority to conduct audits of drug manufacturers and of all provider types may
        provide some incentive for firms to participate in reasonable requests for data.
        Other incentives need to be identified and examined. If manufacturer data
        submission is chosen as a viable alternative, the drug firm can be asked to certify
        the data provided in a manner similar to that specified in the corporate integrity
        agreements (CIAs) developed by the Department of Justice for use by those drug
        firms that have settled fraud allegations related to Medicaid and Medicare drug
        pricing.

    58. The options evaluated in our research study for estimating acquisition costs for

drugs covered under Medicaid or Medicare included: (1) collecting primary data from

manufacturers, (2) careful analysis and evaluation of list prices over time, (3) use of

secondary invoice price data such as that collected by IMS Health, (4) survey of


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pharmaceutical wholesalers’ prices, and (5) survey of pharmacies and other providers.

Each of these options was evaluated by a panel of experts and was reviewed against the

criteria mentioned above. The panel was composed of fifteen experts from various

segments of the healthcare community in the United States, including physicians, chain

drug stores, community pharmacies, other providers, state Medicaid agencies, drug

wholesalers, database organizations, academia, and CMS.

    59. The conclusion of this study to evaluate methods of estimating acquisition cost

was as follows:

        There is no simple method of estimating acquisition costs. Based on our research
        and the comments of the Expert Panel, the authors recommend that CMS
        consider an approach to estimating acquisition costs that is based on collecting
        primary data from manufacturers. Members of the expert panel strongly favored
        this approach at the meeting and in their individual comments after the meeting.

        In particular, in addition to list prices, manufacturers would be asked to supply
        average selling prices by class of trade. These classes of trade might include
        independent pharmacies, chain warehouses, long term care pharmacies,
        physicians (direct sales), and hospitals. If these data are to be used as a basis for
        payment under Medicare Part D which begins in January of 2006, then prices to
        the mail order class of trade should also be collected. Manufacturers would also
        be asked to note other major provider types that might be purchasing on behalf of
        Medicaid and Medicare beneficiaries, to explain the situation, and to provide the
        associated average selling prices. All terms would be carefully defined including
        pricing terms, as well as discounts and rebates to be included and excluded, and
        the channels of distribution. Manufacturers would be required to certify that the
        prices supplied were true and accurate.

        The strengths of this approach are that it: (1) yields actual transaction prices, (2)
        incorporates all discounts and rebates, (3) incorporates class of trade differentials,
        (4) provides an efficient method (relative to a provider survey), and (5)
        represents a feasible approach to estimating actual acquisition cost. Similar
        methods are in place in the Medicaid rebate program and in the Texas Vendor
        Drug Program.

        [Schondelmeyer, SW and Wrobel, MV, Medicaid and Medicare Drug Pricing:
        Strategy to Determine Market Prices (CMS Contract # XXX-XX-XXXX, Task Order
        1, August 30, 2004, p. 28].

    60. Based on the findings of the expert panel, and the experience of the researchers

and panel members, a recommendation was made that “CMS undertake a careful


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evaluation of the existing Texas Vendor Drug Program (VDP) and the price data that it

collects.” [Schondelmeyer and Wrobel, Medicaid and Medicare Drug Pricing, 2004, p.

29]. This recommendation was made because the Texas VDP approach to determining

estimated acquisition cost was considered by the panel and the researchers to be “very

similar to our recommended approach.” CMS did fund the study to evaluate the Texas

VDP approach to estimating drug acquisition costs and the findings of that study are

reported in the next section.

D.      Case Study of the Texas Vendor Drug Program

     61. The Texas VDP (Medicaid) approach to estimating drug acquisition cost was the

object of a study I conducted with colleagues at Abt Associates, Inc. on behalf of CMS in

2005. [Wrobel, Schondelmeyer, et al., Case Study of the Texas Vendor Drug Program,

2005, p. 65]. A previous study had indicated that Texas VDP appeared to have a system

for estimating acquisition cost that was very similar to the optimal system recommended

by a panel of experts. [Schondelmeyer and Wrobel, Medicaid and Medicare Drug

Pricing, 2004, p. 29].

     62. The Texas Vendor Drug Program (Texas VDP) spent about $253 million on

pharmaceuticals in 1991. By 2005, Texas VDP drug spending had grown nearly ten-fold

to $2.475 billion. The annual rate of growth in drug spending for Texas VDP was at

double-digit rates for every year, but one, between 1991 and 2005. Texas served about

2.7 million Medicaid enrollees in 2003 and provided nearly 35 million prescriptions.

     63. The Texas VDP approach to estimating acquisition cost based upon manufacturer

reported drug prices that were current and generally available net prices paid by

pharmacies in the market was considered to be the most practical method of estimating




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acquisition cost for purposes of determining appropriate reimbursement under a state

Medicaid drug program. However, the Texas VDP reimbursement process, and programs

such as Medi-Cal that rely upon commercial drug price databases, depended upon drug

manufacturers to report prices that reasonably represented the actual net prices currently

and generally paid by providers in the marketplace. [Deposition of Martha McNeill, July

12, 2007, p. 45, lines 19 to 24].

    64. State Medicaid programs, such as California and Texas, have tried various

approaches to improve their ability to estimate the acquisition cost of prescription drugs.

The effectiveness of these prescription payment methods, however, is dependent upon

having relevant, accurate, and timely information on prices from manufacturers,

suppliers, pharmacies, or providers. (e.g., see Brendan Joyce (ND), U.S. ex rel. Ven-a-

Care v. Abbott Lab, Inc., 06-11337-PBS, Dec. 12, 2008, p. 260; Roxanne Homar (WY),

U.S. ex rel. Ven-a-Care v. Abbott Lab, Inc., 06-11337-PBS, Dec. 3, 2008, p. 422; and J.

Kevin Gorospe (CA), U.S. ex rel. Ven-a-Care v. Abbott Lab, Inc., 06-11337-PBS, Dec. 3,

2008, p. 253.)

    65. Even though the Texas VDP implemented a system that directly requests actual

(net) prices from drug manufacturers, some manufacturers including Dey, Mylan and

Sandoz have not been reporting actual (net) prices. Consequently, Texas VDP has

continued to pay more than it would have paid if it had accurate and reliable price

information from those drug manufacturers and has resorted to litigation against

companies including Dey, Mylan, and Sandoz to remedy the effects of their inflated price

reporting.




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E.      Sources of Variation in Drug Prices

     66. Drug prices will typically vary over time. Other sources of variation at any

specific point in time may be related to: (1) the type of purchaser (i.e., also referred to as

classes of trade), (2) the type of drug product, and (3) geographic variation. Each of

these potential sources of variation is addressed briefly.

1.      Class of Trade Variations in Drug Prices

     67. The type of purchaser of a drug product may determine the price level that is

available to that purchaser. The role of purchaser type was described in my 2004 report to

CMS [Schondelmeyer and Wrobel, Medicaid and Medicare Drug Pricing, 2004, pp. 16-

17] as follows:

        Nearly all drug manufacturers divide the channels of distribution into groups
        known as ‘classes of trade’. The ‘classes of trade’ at the broadest level are the
        groups identified on the pharmacy-provider level of the channels of distribution
        chart (Exhibit 4) including: chain pharmacies, mass merchant pharmacies, food
        and drug pharmacies, independent pharmacies, mail order pharmacies, health
        plan and HMO (in-house) pharmacies, long term care pharmacies, hospital
        pharmacies, physicians and clinics, government facilities, and other settings. The
        structural differences in actual prices charged to each of these ‘classes of trade’
        can differ considerably and appear to be arbitrary and are usually unrelated to
        volume of drug product purchased.

        In most markets, when one buyer can purchase a product at a lower price than
        other purchasers, there is the potential for arbitrage. That is, the buyer with
        access to the lower price is able to purchase the product at the low price and
        resell it, at a profit, to the party without access to the lower price. This drives
        down the price differentials both directly (because the high-price buyers get
        lower prices) and indirectly (because manufacturers no longer gain from the
        differential pricing and hence desist from the practice). This practice of arbitrage
        across classes of trade is explicitly prohibited by re-sale limitations established in
        the pharmaceutical marketplace by the Prescription Drug Marketing Act of 1988.

        Both the monopoly position of patent (or exclusivity) protected drug products
        and the prohibition on arbitrage enable drug firms to use ‘discriminatory pricing’,
        which seeks to maximize the price to each individual buyer or group of similarly
        situated buyers. There are sometimes volume discounts within a class of trade,
        but volume does not usually explain the difference in price across classes of
        trade. A physician purchasing drug product direct from the manufacturer will
        usually get one of the lowest prices in the market, especially for drug products
        administered in the physician’s office, while independent and chain community


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        pharmacies often pay the highest prices in the market. This pattern occurs even
        when the chain pharmacy purchases far more volume (millions of dollars)
        nationally than an individual physician purchases in a year (i.e., hundreds or
        thousands of dollars). Volume may get one physician a better price than another
        physician. Volume, however, does not explain why a chain pharmacy pays a
        higher price, even though it purchases a substantially larger volume of a drug
        product than an individual physician typically purchases. The structural barriers
        of monopoly position and statutory prohibitions on price arbitrage mean that the
        purchasers who get the lowest price in the market are not necessarily the most
        efficient purchasers in the market. Because class-of-trade differentials exist and
        are outside of the control of the purchaser, an accurate approach to estimating
        actual acquisition costs must take into account the class of trade pricing practices
        of drug firms. The practice of class of trade pricing is not usually disclosed
        directly by drug manufacturers and could experience change as the dynamics of
        the pharmaceutical marketplace evolve during the implementation and operation
        of the new Medicare outpatient drug benefit.

     68. In summary, class of trade pricing operates based on structural criteria in the

market and not necessarily efficiency-based criteria. In other words, the purchaser with

the lowest purchase price may not be the purchaser with the largest volume of purchases.

The ‘class of trade’ pricing practices are not usually disclosed by pharmaceutical

companies.

2.      Drug Product Type Variations in Drug Prices

     69. The type of drug product with respect to patent status has an influence on drug

product prices and relationships among various prices. The three major drug product

types are: (1) brand name drug products with patent and/or other market exclusivity,

sometimes referred to as single source (SS) drug products; (2) brand name drug products

that have lost their patent and market exclusivity, also known as off-patent brands or

innovator multiple source (IMS) drugs; and (3) off-patent generic drug products, also

known as non-innovator multiple source (NMS) drug products.

     70. The pricing patterns and relationships among prices may vary by type of drug

product. Patented brand name, off-patent brand name, and generic drug products have

different pricing patterns and these patterns are described in my 2004 report to CMS


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[Schondelmeyer and Wrobel, Medicaid and Medicare Drug Pricing, 2004, pp. 17-18] as

follows:

        The pricing patterns of brand name drug products and generic drug products can
        be quite different. For most brand name drug products that are still covered by
        patent or exclusivity terms, the price relationship between list prices (AWP and
        WAC) and actual transaction prices (actual acquisition cost or average selling
        price) for a given class of trade is reasonably predictable. That is, the WAC is
        equal to, or very close to (+ or – 5%) the actual acquisition cost for the
        community pharmacy class of trade and the AWP is typically 20 to 25 percent
        above the WAC or, alternatively, WAC is 16.67 or 20 percent below AWP. In
        such cases, a payment policy based on AWP (i.e., usually AWP minus a certain
        percent) may be relatively accurate. This pricing pattern holds for community
        pharmacy classes of trade (independents, chains, and food & drug stores), but not
        necessarily for other classes of trade (i.e., mail order pharmacies, HMOs and
        health plan pharmacies, long term care, physicians or clinics, hospitals, or state
        and federal facilities or programs). Some of these other classes of trade control
        the demand (i.e., prescribe or influence the drug prescribed) and are reimbursed
        by a third party based on a percent off of AWP or a percent above WAC. When
        these other providers can actually purchase the drug product from the
        manufacturer, and when the manufacturer deliberately creates a large and hidden
        spread between actual acquisition cost and the reimbursement amount, then the
        physician or other provider has a very strong financial incentive to prescribe their
        drug. This non-transparent spread leads to a financial incentive to prescribe more
        often and to prescribe higher-priced drugs over lower-priced drugs even when
        they are not necessarily the most cost-effective alternative. These financial
        incentives from the hidden spreads may be one factor contributing to the rapid
        growth of Medicare Part B drug program expenditures over the past four years.

        Once a brand name drug product loses its patent and market exclusivity, the
        brand name drug may face price competition from generic versions of the drug
        product. Usually the brand manufacturer does not compete on price with
        generics for the community pharmacy class of trade. This means that the AWP
        and WAC relationship to actual acquisition cost discussed earlier for brand name
        drugs still holds. However, brand manufacturers sometimes offer substantial
        discounts relative to WAC to certain classes of trade (i.e., hospitals, long term
        care, health plans, and physicians). This may keep the actual acquisition cost of
        the brand drug somewhat price competitive in non-community pharmacy
        settings, and particularly when the provider receives payments keyed to list
        prices may result in excessive financial incentives to prescribe or use the brand
        name rather than a generic equivalent.

        Price competition begins when the market is entered by the first generic drug
        product that is a therapeutically equivalent version of a brand name drug product
        made by the drug firm that holds the original NDA for a given chemical entity.
        When two or more generic drug products enter the marketplace they typically
        compete on price with each other even though the brand name product usually
        does not compete on price. The first generic will typically enter the market at a
        list price (both AWP and WAC, if a WAC is reported) that is 10 to 30 percent



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        below the originator brand price. Often the price competition among generic
        versions of a drug product will be reflected by one or two decreases in list prices
        (AWP and WAC) in the first six to twelve months after generic entry, but after
        that time it is rare to see generic list prices change and at some point in time the
        generic list prices for some drugs may even begin to rise again.

        The relationship between list prices (AWP and WAC) is much less predictable
        for generic drugs than it is for brand name drugs. Some generic drug products
        will have AWPs that are the typical 20 to 25 percent above the WAC, but it is not
        unusual to see generic drug products with an AWP that is 50 to 100 percent, or
        more, above the WAC. Even more volatile is the relationship between the list
        prices (AWP or WAC) and actual acquisition cost for generics. Generic firms
        often discount their actual net price to the pharmacy to compete with other
        generics, but they do not always reflect these discounts in lower AWP or WAC
        list prices. Generic prices are also relatively volatile, because the market for
        generic drugs is effectively a commodity market. Thus, AWP-based payment
        policy is much less accurate for these drugs than it is for the branded drugs.
        Medicaid drug payment policy reflects the lower market prices for generic drugs
        by placing a FUL (a federal MAC or a state MAC) on many generic products.

3.      Geographic Variations in Drug Prices

     71. The price of drugs may arguably vary by geographic region. However, for the

most part, the purchase of prescription drugs from manufacturers and wholesalers

functions primarily at a national market level. My research report to CMS

[Schondelmeyer and Wrobel, Medicaid and Medicare Drug Pricing, 2004, pp. 18]

discussed geographic variation as follows:

        Geographical variations in the actual drug cost at the manufacturer level are not
        common. Once one has accounted for class of trade differentials, most drugs
        have the same list prices (AWP and WAC) regardless of where they are
        purchased or used. In the few cases where a specific drug may have prices that
        vary by region, the variation is often in response to certain third party payment
        methods (i.e., the Least Costly Alternative (LCA) method) of paying for
        therapeutic alternates under Medicare Part B by certain fiscal intermediaries.

        In contrast to the general uniformity of prescription drug prices, the cost of
        professional services (i.e., physician fees or pharmacy fees) usually varies by
        geographic region. Both physician and pharmacy costs of providing the required
        services that accompany prescription drugs vary by geographic region due to
        differences in rent, salaries, general cost of living, insurance, and other factors.
        To the extent that the drug cost component of the payment policy is intended to
        also cover part, or all, of other costs associated with drug provision (e.g., storage
        and handling, or counseling and medication therapy management), there may be
        a need for this component to vary by region. Also, for the reasons above,
        changes in drug product payment policy may have different impacts upon


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         providers and pharmacies across regions. These same factors may also vary
         across geographic locations (rural versus urban) within the same region.



VI.      THE MEDICAID DRUG PROGRAM

      72. The Medicaid drug program dates back to 1965 when the U.S. Congress created

Medicare and Medicaid out of the varying state programs to provide health care to the

aged and indigent, respectively. Prescription drug coverage is an optional service in

Medicaid, but virtually all states offer a prescription drug benefit. The Medicaid program

is jointly funded by federal and state resources based on a cost sharing formula, with

various federal shares across the states ranging from 50% to 75% of total drug program

costs. Both Medicaid and Medicare now have prescription drug benefits that serve,

respectively, the indigent and the elderly and disabled.          The public financing for

prescription drug coverage of these populations has provided increased access for many

persons who could not otherwise afford necessary drug therapy. Drug manufacturers

have benefited from this increased coverage and market expansion through increased

drug sales financed by public programs such as Medicaid and Medicare.

      73. Medicaid expenditures are usually one of the largest items in the state’s budget. In

addition, Medicaid expenditures have been one of the fastest growing components of the

state budget and Medicaid drug expenditures have been one of the fastest growing pieces

of Medicaid. For these reasons, among others, state Medicaid agencies attempt to use

state resources as wisely and efficiently as is possible given the resources available.

      74. My experience in working with state Medicaid programs over the years has been

that the state agencies do their best to estimate actual acquisition costs for covered drug

products. Efficient and appropriate use of Medicaid drug program resources enables the



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state government to accomplish other policy objectives such as ensuring increased access

to care, coverage of more beneficiaries, encouragement of lower cost generic drug

products, incentives for utilization of least costly alternatives for treatment, and

minimization of program administrative costs. Medicaid drug program resources can be

used more efficiently and appropriately with drug price information that is reliable,

accurate, comprehensive, and timely.      The staff of state Medicaid agencies, when

carrying out their responsibilities, attempt to do their best to estimate the actual

acquisition cost of drug products in the market given the resources available. [Deposition

of Stan Rosenstein, California ex rel. Ven-a-Care v. Abbott Lab, Inc., 03-CV-11226-PBS,

November 6, 2008, pp. 300-302; Deposition of Martha McNeill, July 12, 2007, p. 39,

lines 15 to 20; p. 27, line 24 to p. 28, line 5]. The ability of state Medicaid programs to

implement their chosen policy objectives and to manage resources efficiently is

negatively impacted by the provision of inflated price information by drug manufacturers,

including Dey, Mylan, and Sandoz. [For example, see Deposition of Brendan Joyce

(ND), U.S. ex rel. Ven-a-Care v. Abbott Lab, Inc., 06-11337-PBS, Dec. 12, 2008, pp.

241-244; Deposition of Stan Rosenstein, California ex rel. Ven-a-Care v. Abbott Lab,

Inc., 03-CV-11226-PBS, November 6, 2008, pp. 302-305.]

    75. Overall, Medicaid drug expenditures accounted for 12.1% of total outpatient drug

expenditures in the U.S. in 1996, and reached a high proportion in 2004 at 15.3% of total

outpatient drug expenditures. The number of Medicaid prescriptions represented 11.6%

of all outpatient prescriptions in 1996 and grew to their highest share in 2004 at 13.6%.

[NACDS, The Chain Pharmacy Industry Profile, annual editions from 1998 to 2005.

Data was from IMS Market View, as reported in Novartis Pharmacy Benefit Report for




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1996 to 2001 and from NDC Health (a health care information company) from 2002 to

2006].

    76. Medicaid outpatient prescription drug expenditures in the U.S. were $4.4 billion

in 1990 and they had nearly doubled in six years (1996) to $8.7 billion. In the next nine

years (1996 to 2005), Medicaid outpatient prescription expenditures nearly quadrupled to

$32.1 billion. [NACDS, The Chain Pharmacy Industry Profile, annual editions from

1998 to 2005. Data was from IMS Market View, as reported in Novartis Pharmacy

Benefit Report for 1996 to 2001 and from NDC Health (a health care information

company) from 2002 to 2006].

    77. The growth of Medicaid drug spending was at double-digit rates for most of the

period from 1990 to 2005. [NPC, Pharmaceutical Benefits, annual editions from 1990 to

2005/2006].

    78. At the national level, the Medicaid drug expenditures grew 221% from 1992 to

2002 (in constant dollars). Total drug expenditures were broken down into several

contributing components: number of drug recipients, drug utilization (prescriptions per

person per year), manufacturer drug product cost and pharmacy fees. Over the decade

from 1992 to 2002, the number of drug recipients decreased about 6% and drug

utilization increased 46.8%. The average payment per prescription grew more than

107%, with the manufacturer drug product cost increasing 137% and the pharmacist’s fee

declining 20%, in constant dollars. [Schondelmeyer and Wrobel, Medicaid and Medicare

Drug Pricing, 2004, pp. 4-5].




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    79. Medicaid has historically been the single largest payer for prescription drugs in

the United States—although with the advent of the Medicare Part D prescription drug

program in 2006 that role has now been supplanted.

    80. The Medi-Cal drug program experienced changes in the same direction as those

observed at the national level. Medi-Cal outpatient prescription drug expenditures were

$0.56 billion in 1990 and they more than doubled in five years (1995) when Medi-Cal

covered about 49 million prescriptions and which accounted for an expenditure of more

than $1.2 billion at an average prescription price of $23.51. By 2005 Medi-Cal paid for

52 million prescriptions at a total expenditure of $4.6 billion.   Beginning in 2006 the

prescription drug coverage for dual eligible elderly beneficiaries was moved from Medi-

Cal to the new federal Medicare Part D prescription drug program. Consequently, the

drug expenditures under Medi-Cal decreased substantially in 2006 compared to 2005.

The Medi-Cal drug expenditures in 2006 were $2.4 billion for 27 million prescriptions—

nearly one-half of the 2005 levels. The average Medi-Cal prescription price in 2005 was

$88.21 and in 2006 was $88.99. [NACDS, The Chain Pharmacy Industry Profile, annual

editions from 1998 to 2005. Data was from IMS Market View, as reported in Novartis

Pharmacy Benefit Report for 1996 to 2001 and from NDC Health (a health care

information company) from 2002 to 2006].

    81. The sources of growth in the Medi-Cal drug program were examined for the

period 1992 to 2002. Total Medi-Cal drug expenditures, in inflation adjusted dollars,

grew 205% from 1992 to 2002—a tripling in expenditures. The number of Medi-Cal

drug recipients decreased by 20% over the same time period while the drug use rate

increased nearly 50% and the average prescription payment increased 156%. Growth in




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the average Medi-Cal prescription price was driven entirely by an increase of 198% in the

manufacturer’s drug ingredient cost, while pharmacy dispensing fees over the same time

period decreased 22% in inflation adjusted terms.

     82. The growth of Medi-Cal drug spending was at double-digit rates for all but three

of the years from 1990 to 2004. [NPC, Pharmaceutical Benefits, annual editions from

1990 to 2007].

A.      Medicaid Drug Reimbursement

     83. The state Medicaid programs reimburse for covered pharmaceutical products

through various formulas that are designed to estimate the acquisition cost of the drug

product to the provider submitting the claim for reimbursement. Medicaid programs,

then, determine the amount to pay on a specific claim for prescription pharmaceuticals by

setting an amount intended to compensate the provider for the estimated acquisition cost

of the drug product plus an additional amount, also set by the applicable Medicaid

reimbursement method, to compensate the provider for overhead related to the cost of

dispensing prescriptions and counseling patients and a reasonable profit.

     84. Pharmacy and provider payments for prescription drugs are set using similar basic

payment formulae set by federal statutes and regulations and applied in all states.

Individual states may, then, modify or add other factors in the payment process with the

approval of the federal agency, CMS.           The basic parameters of the reimbursement

formula are specified in federal regulations as described in the paragraph below:

        History: Federal Medicaid regulations dictate the method for reimbursing
        prescription drugs. Reimbursement is made on a retrospective, fee-for-service
        basis with payments limited to the lower of the pharmacy’s usual and customary
        charge or the estimated acquisition cost of the drug product plus an established
        dispensing fee to cover the pharmacy’s overhead and profit. (Some states have
        experimented with enrolling Medicaid eligibles in Health Maintenance
        Organizations under capitated payment contracts.) In 1976, utilizing the authority


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        to set an upper limit for services available under Medicaid programs as provided
        under Section 1902(a)(30)(A) of the Social Security Act, the Health Care
        Financing Administration (HCFA), HHS implemented drug reimbursement rules
        at 45 CFR Part 19 pertaining to upper payment limits for Medicaid and other
        programs. Specifically, these regulations provided that the amount the
        Department recognized for drug reimbursement or payment purposes was not to
        exceed the lowest of:
        • the maximum allowable cost (MAC) of the drug as established by HCFA’s
            pharmaceutical reimbursement board for certain multisource drugs (generic
            drugs), plus a reasonable dispensing fee;
        • the estimated acquisition cost (EAC) of the drug (the price generally and
            currently paid by providers for a particular drug in the package size most
            frequently purchased by providers), as determined by the program agency,
            plus a reasonable dispensing fee; or
        • the providers’ usual and customary charge to the public for the drug.
        [NPC, Pharmaceutical Benefits, 1993, p. 15].

    85. Importantly, note that the payment to the provider is the “lower of” the various

prices including: (1) the pharmacy’s usual and customary charge for the prescription; (2)

the estimated acquisition cost (e.g., AWP –X%) for the drug product plus a dispensing

fee; or (3) the federal upper limit (FUL), or state maximum allowable ingredient cost

(state MAIC), for certain generic drug products plus a dispensing fee.

    86. Specifically, the Medi-Cal program uses the price information from

manufacturers obtained from the commercial price database in a formula to determine,

among other things, the cost of the drug product which is the lowest of: “the Estimated

Acquisition Cost (EAC), the Federal Allowable Cost (FAC) [also known as the Federal

Upper Limit (FUL)], or the [state] Maximum Allowable Ingredient Costs

(MAIC)/Maximum Allowable Product Cost (MAPC) for the Standard Package size…

The price charged to the program shall not exceed that charged to the general public.”

[Cal. Code Regs. Tit. 22 §51513(a)(13), effective 3-1-95; see also Cal. Code Regs. tit. 22

§51513(b)(1)(A), effective 3-1-95].




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     87. State Medicaid programs have to file a State Plan with CMS under Title XIX of

the Social Security Act. This State Plan sets the state’s method with respect to how the

state Medicaid program will be operated consistent with the federal statutes and

regulations in order for the state to qualify for federal financial participation payments.

The Secretary of HHS must review and approve each state’s plan.

B.      Medicaid Drug Rebate Program

     88. The Medicaid Drug Rebate Program was established by Congress with the

passage of the Omnibus Reconciliation Act of 1990 (OBRA ’90). This drug rebate

program began operation January 1, 1991. Congress enacted the OBRA ’90 Medicaid

Drug Rebate Program because “States were not able to address the primary cause of

escalating program costs—steep increases in drug prices at the product level—because

drug manufacturers would not negotiate lower prices with Medicaid programs.”12

     89. The Medicaid drug rebate program was to enable the states to address

manufacturer drug prices. Legislative staff involved with development of OBRA ’90

have stated that Congress designed the Medicaid Drug Rebate Program “to offer

Medicaid the prices that they (drug manufacturers) were giving to their best customers, or

their “best price.””13 In other words, this legislation was intended to provide the

governmental drug program with the economic benefit of market-based prices similar to

those available to the best non-governmental drug purchasers. Congress also expected

the Medicaid Drug Rebate Program to allow “expansion of Medicaid benefits . . . being

constrained by budget limits on federal and state spending for social programs.”14


12
   Pollard, Michael R. and Coster, John M., “Update I. Legislation. Savings for Medicaid Drug Spending,”
   Health Affairs, Summer 1991, pp. 196-206.
13
   Pollard and Coster, Health Affairs, Summer 1991, pp. 196-206.
14
   Pollard and Coster, Health Affairs, Summer 1991, pp. 196-206.


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    90. By reducing the net drug expenditures of the state, the advent of the Medicaid

Drug Rebate Program in 1991 enabled states to extend coverage to a larger population

and to expand the number of prescriptions dispensed. State Medicaid programs have

enlarged the number of beneficiaries and thus increased access to prescription drugs

through this government financed and subsidized program. This government drug

program has provided access to prescription drugs for many people who could not have

afforded their drugs before, thus increasing total sales for drug manufacturers.

    91. Drug firms must voluntarily agree to participate in the Medicaid Drug Rebate

Program in order to have their drug products covered by the Medicaid program. For

those who voluntarily participate in the drug rebate program, reporting of their drug

product prices (i.e., AMP and best price) is required. Manufacturers chose to participate

in the drug rebate program and to report the required price information in order to have

their drug products covered by the state Medicaid programs, because otherwise they

realized that they would lose a substantial amount of sales. The average manufacturer

price (AMP) is based on the weighted average of the aggregate sales revenue received by

the manufacturer and divided by the aggregate units sold.

    92. Because the Medicaid drug program paid for approximately 10% to 15% of

outpatient drug purchases in this country, the failure of a manufacturer to participate in

the Medicaid Drug Rebate Program would likely have affected the purchasing decisions

of pharmacies. For most generic drug products, a pharmacy typically likes to purchase

only one manufacturer’s drug product and if that drug manufacturer does not participate

in Medicaid, the pharmacy would have to stock a second manufacturer’s drug product.

Instead, the pharmacy would only purchase generic drug products from manufacturers




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that were participating in the Medicaid drug rebate program to avoid having a duplicate

inventory and the increased inventory carrying cost.

      93. The Secretary of HHS has authority to terminate manufacturers and their drug

products from coverage in Medicaid if the manufacturer fails to participate in the

Medicaid Drug Rebate Program (Social Security Act, § 1927(b)(4)(B)). The rebate

agreement obligates the drug manufacturer to report to CMS its AMP and, if applicable,

its best price for each drug product (by NDC number) on a quarterly (i.e., four times a

year) basis. State Medicaid programs then have to report to CMS, and each participating

drug manufacturer, the quantity of each drug product (by NDC) paid for by the state’s

Medicaid program in a given quarter. This unit volume is multiplied by the Unit Rebate

Amount (URA) provided by CMS to the states to calculate the amount of rebate due

based on the rebate formulae specified in federal statute.

      94. Simplistically, drug firms selling single source (patented brand) drug products or

innovator multiple source (off-patent brand) drug products must pay a rebate which is the

greater of: (1) 15.1 percent of the AMP; or (2) the AMP less the best price offered to

certain classes of trade. In addition, an inflation adjustment rebate factor is also due.

Non-innovator multiple source (off-patent generic or non-originator brand) drug products

pay a fixed percentage rebate of 11% of AMP. These generic drug products are not

subject to either the best price calculation or the inflation adjustment rebate.15

      95. If manufacturers report inflated prices (AWP, WAC or DP) used for Medicaid

reimbursement, the amount of rebate received by the Medicaid Drug Rebate Program

does not, in fact, result in Medicaid programs receiving manufacturer rebates that reduce


15
     National Pharmaceutical Council, Pharmaceutical Benefits Under State Medical Assistance Programs,
     2007, pp. 4-24.


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the ultimate drug cost to a point equivalent to the cost of the manufacturers’ best non-

governmental customers.

     96. The Defendants incorrectly argue that “knowing full well that it was paying a

“spread” to providers, California pursued supplemental rebates from drug companies to

defray the costs of Medi-Cal drug coverage.” [Defendants’ Memorandum of Law In

Support of Its Motion to Dismiss, Filed January 17, 2006, p. 11.] As noted earlier, the

Medicaid Drug Rebate Program, including both federal and state rebates, was intended to

enable states to address “the primary cause of escalating program costs—steep increases

in drug prices at the (drug manufacturer) product level.”16 This drug rebate program was

not intended to compensate for pharmacy reimbursement under Medicaid “[b]ecause

states had made pharmacy reimbursement a primary focus of their Medicaid drug

program cost containment efforts in the 1980s.”17 For this reason, the rebate program

was designed to be entirely separate from the pharmacy reimbursement program and to

prevent Medicaid programs from further cutting pharmacy reimbursement.               In fact,

“Congress sought to limit cuts in this area by seeking a freeze on state pharmacy

reimbursements.”18

C.      Role of AMP in Medicaid Drug Program

     97. Various defendants in the AWP cases have suggested that availability of AMP

information to the government impacts the potential liability of defendants for reporting

highly inflated AWPs.

     98. This position by the defendants is inconsistent with Medicaid statutes, regulations,

policies, and practices. First, the statutes did not allow any other use of the AMP and

16
   Pollard and Coster, Health Affairs, Summer 1991, pp. 196-206.
17
   Pollard and Coster, Health Affairs, Summer 1991, pp. 196-206.
18
   Pollard and Coster, Health Affairs, Summer 1991, pp. 196-206.


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best price data other than calculation of the unit rebate amounts under the Medicaid drug

rebate program. Second, the unit rebate amounts provided to the states by CMS under

the drug rebate program cannot usually, or reliably, be reverse engineered to determine

the AMP. Third, even if the statute did not prohibit disclosure or use of AMP, or if

determination of the AMP could be reverse engineered by the states, the use of AMP as a

basis for reimbursement is not practical for other reasons.

    99. First, the statutes did not allow any other use of the data other than calculation of

the unit rebate amounts under the Medicaid drug rebate program. Until recently, when

the Deficit Reduction Act of 2005 (DRA) was passed, the Medicaid rebate statute which

defines AMP and its use specified that the AMP information provided by manufacturers

“shall not be disclosed by the secretary...or a State agency...except as the secretary

determines to be necessary to carry out this section.” [42 U.S.C. ' 1396r-8(b)(3)(D)]. As

a result of this statute the Secretary did not give the states the AMP data for specific

prescription drugs. [See Medicaid Program: Payment for Covered Outpatient Drugs

Under Drug Rebate Agreements With Manufacturers, 60 Fed. Reg. 48442, 48475 (Sept.

19, 1995) (preface to the proposed rule in 1995 expressly discussing Secretary’s

limitation on access to AMP data by the states)]. In a hearing before Congress, the

Secretary of HHS publicly expressed the view that HHS was not permitted to use the

AMP data for Medicare reimbursement.                 [See “Reimbursement and Access to

Prescription Drugs Under Medicare Part B,” 107th Cong. 16, Hearing Before the

Subcomm. On Health Care of the S. Finance Comm., March 14, 2002, Statement of

Thomas A. Scully, 2002 WL 399357].




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     100.        One state (i.e., Texas) specifically requested clarification from CMS as to

whether or not states could use rebate program information to calculate an estimated

acquisition cost (EAC) for (pharmacy) reimbursement.19 The reply from CMS clearly re-

stated the issue as: “First, you ask for confirmation that State Medicaid programs may not

use the rebate information, including the Unit Rebate Amount (URA) and Reconciliation

of State Invoice (ROSI) reports, to calculate an estimated acquisition cost (EAC) for

(pharmacy) reimbursement.”20 The CMS answer was also clear and direct: “You are

correct.”21

     101.        California Medi-Cal personnel had the same understanding as that stated

by CMS in its letter to Texas.           [See Deposition of Craig Miller, Medi-Cal Rebate

Section]. According to Kevin Gorospe of Medi-Cal all URA information is held

confidential and the state realizes that if it were to utilize the rebate information for

reimbursement, such a use would breach the confidentiality restrictions. [Deposition of J.

Kevin Gorospe, California v. Abbott Laboratories, December 3, 2008, pp. 286-287].

     102.        Personnel from various other state Medicaid agencies have also testified

that they were well aware that the Medicaid rebate information (i.e., URAs and AMPs)

was confidential and could not be used for reimbursement purposes. For example, Ms.

Farrand, the New Hampshire Department of Health and Human Services designee,

clearly understood that the URA data provided to states was not to be used for

reimbursement purposes and that the data was confidential and not to be disclosed.

[Deposition of Lise Farrand, Pharmaceutical Services Specialist, State of New

19
   Letter from Patrick J. O’Connell, Assistant Attorney General, Office of the Attorney General, State of
   Texas to Mr. Dennis Smith, Director, Center for Medicaid State Operations, CMS, re: Request for
   Information from State of Texas, dated March 31, 2003.
20
   Letter from Patrick J. O’Connell, State of Texas to Mr. Dennis Smith, CMS, March 31, 2003.
21
   Letter from Patrick J. O’Connell, State of Texas to Mr. Dennis Smith, CMS, March 31, 2003.


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Hampshire, Department of Health and Human Services, deposed in U.S. ex rel. Ven-A-

Care v. Dey et al., October 28, 2008, pp. 226, 287-293; see also Deposition of Margaret

Clifford, Pharmaceutical Services Specialist, State of New Hampshire, Department of

Health and Human Services, served from 1994 through 2000, U.S. ex rel. Ven-A-Care v.

Dey et al., October 29, 2008, pp. 196-230]. The Medicaid agency designee for the State

of Washington also understood that the URAs provided to the state by CMS were not to

be disclosed and were not to be used as the basis for reimbursement.           [e.g., see

Deposition of Ayuni Hautea-Wimpee, U.S. ex rel. Ven-A-Care v. Abbott Laboratories et

al., November 24, 2008, pp. 594, 606-608]. The Director of the Department of Human

Services, State of Hawaii, in a State Plan Amendment memo to HCFA noted, “The State

will keep the unit rebate amount confidential and will not disclose it for purposes other

than rebate invoicing and verification.”    [Letter from Winona E. Rubin, Director,

Department of Human Services, State of Hawaii, Re: State Plan Amendment # 92-08, to

Mr. Lawrence L. McDonough, Associate Regional Administrator, Health Care Financing

Administration, San Francisco, CA, May 13, 1992; see also, Deposition of James Parker

(IL), U.S. ex rel. Ven-a-Care v. Abbott Lab, Inc., 06-11337-PBS, Nov. 18, 2008, pp. 72-

74; and Deposition of Suzette Bridges (AR), U.S. ex rel. Ven-a-Care v. Abbott Lab, Inc.,

06-11337-PBS, Dec. 10, 2008, pp. 70-72].

    103.        Second, the URA provided to the states under the drug rebate program

cannot be reverse engineered to determine the AMP. The primary functions of the

Medicaid Drug Rebate Program are carried out by CMS at the federal level. This federal

rebate operation includes receiving the AMP and best price information from

participating drug manufacturers, application of the inflation adjustment factor, and




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calculating a single value (URA) for each drug product for each quarter. This URA is the

value provided quarterly to state Medicaid programs to multiply by their quarterly drug

utilization volume to determine the rebate amount due from a drug manufacturer. The

state’s role in the Medicaid Drug Rebate Program is to track the state’s drug utilization,

to bill the drug manufacturer for rebates, and to resolve any disputes over rebate amount

that result from discrepancies in drug utilization.

    104.        Consistent with the statute, and related regulations and Medicaid Drug

Rebate Program implementation procedures, the Secretary has not provided the state

Medicaid programs with AMP values over time. The states were provided URAs and not

AMPs. [60 Fed. Reg. 48442, 48475 (Sept. 19, 1995) (preface to proposed rule in 1995)

(expressly discussing Secretary’s limitation on access to AMP data by the states).

    105.        The URAs included the total amount per unit (e.g., tablet, capsule, or

milliliter) due to Medicaid based on provisions of the rebate program including: the

minimum rebate amount (i.e., AMP – 15.1%) and, if applicable, the best price rebate

amount (AMP – best price), and the inflation adjustment amount. Because this URA

incorporates multiple factors in a single number, including the minimum rebate amount,

the best price rebate amount, and the inflation adjustment factor, it is not possible, on a

reliable and consistent basis, for states to disaggregate the single number reported as a

URA into the contribution made by each of the components. [See the CMS document

titled “Unit Rebate Amount (URA) Calculation” found on May 15, 2008 at:

http://www.cms.hhs.gov/MedicaidDrugRebateProgram/downloads/uracalc.pdf].               The

URA is the only number provided to state Medicaid programs prior to the Deficit

Reduction Act of 2005. With the passage of the DRA in 2005, Congress authorized




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provision of the AMP amounts for all covered drug products to states beginning in 2007.

[DRA, Pub. Law 109-171 ' 6001, 120 Stat. 4, 54 (2006)].

       106.         The URA for multisource non-innovator drug products was 11 percent of

the AMP. While this single factor in the URA for a specific drug product could arguably,

in some cases, signal the AMP amount to states, this reverse engineering of the AMP was

not permitted, as noted earlier, for any purpose other than collection of Medicaid

rebates.22 Furthermore, the AMP submitted to the Medicaid Drug Rebate Program by

drug manufacturers is provided based on the 9-digit NDC code and not the 11-digit NDC

code. Therefore, the AMP for an individual drug product at the 11-digit NDC code level

cannot be reliably determined by reverse engineering AMP data provided at the 9-digit

NDC level. Given the precision that states need to have in order to set reimbursement

rates, this is not a reliable process to determine the payment amount for thousands of

generic (multiple source) drug products.

       107.         Recall that every prescription drug product in the United States has a

unique NDC number (11-digits) for each drug product marketed. This 11-digit number

has three basic segments. The first segment (5-digits) uniquely identifies the drug firm

and the second segment (4-digits) identifies the specific strength, dosage form, and

formulation for a given drug product. The third segment (2-digits) identifies the package

size and package type (e.g., bulk, unit dose, or unit of use). While products with the

same 9-digit code are the same drug entity, dosage form, strength and manufacturer, there

may be varying package sizes (e.g., 30 tablets v. 100 tablets v. 5,000 tablets) and varying

package types (e.g., bulk bottle v. unit dose). The price of different package sizes and



22
     Letter from Patrick J. O’Connell, State of Texas to Mr. Dennis Smith, CMS, March 31, 2003.


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types may vary a little or a lot depending upon the drug firm, the drug product and the

types of pharmacies or providers to which the drug manufacturer will sell each specific

NDC or package type.

       108.         CMS has always asked drug manufacturers to report their AMP data at the

9-digit level based on the weighted average AMP across all related 11-digit NDCs. As

noted by CMS in the Federal Register: “We agree that the AMP should continue to be

weighted at the 9-digit NDC level, and retain this requirement in the final rule. CMS has

used the weighted 9-digit AMP since the start of the rebate program and there is nothing

in the statute or legislative history to indicate that the Congress meant for this to change

when AMP is used for FULs.”23

       109.         Just knowing the URA for a drug product does not mean that one knows

the price that any given pharmacy paid or how many pharmacies could buy the drug

product at or below that amount. The URA does not mean that one knows the underlying

distribution of prices that made up that average manufacturer price. [e.g., see Jerry

Wells, State of Florida, December 15, 2008, deposition in U.S. ex rel. Ven-A-Care v.

Abbott, p. 260.]

       110.         Third, even if the statute did not prohibit disclosure or use of AMP, or if

determination of the AMP could be reverse engineered by the states, the use of AMP as a

basis for estimated acquisition cost (EAC) or other reimbursement purposes was not

practical for reasons which include the following: (1) AMP was not publicly available so

that pharmacies and other providers would not know the amount they would be paid for

providing prescription drugs; (2) use of AMP-based reimbursement would have required



23
     See CMS, Medicaid Program; Prescription Drugs, Final Rule, Fed. Reg., July 17, 2007, p. 39215.


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a complete change of the entire Medicaid drug program’s pharmacy reimbursement

system and not just a minor adjustment to the existing system; and the manufacturer-

reported AMP amounts are subject to change after they have been reported and can be

revised years after they have been initially supplied to CMS. [See Deposition of Craig

Miller, Medi-Cal, October 22, 2008, pp. 328-329.]

    111.        Pharmacies agree to provide prescription drugs to beneficiaries of state

Medicaid programs based on a contract, and/or pricing information, that is available to

the pharmacy prior to dispensing the prescription. If AMP were used for estimating

acquisition cost (EAC) for reimbursement purposes—a use which was not permissible—

the confidential nature of AMP would have created an uncertain business proposition for

the pharmacies. Essentially, the pharmacies would be faced with a proposition from

Medicaid which says, “if you agree to participate in the Medicaid program you will be

paid the lower of an estimated acquisition cost based on AMP—a price which we cannot

disclose to you—plus a dispensing fee, a federal upper limit (or maximum allowable cost,

MAC) based on AMP plus a dispensing fee, or your usual and customary price to the

general public.” A pharmacy business is not likely to agree to provide prescriptions to

Medicaid when they do not know the amount that will be reimbursed for the prescription

until after the prescription has already been dispensed. This is not a reasonable business

arrangement for the pharmacy.

    112.        Finally,      the   adoption    and      implementation   of   an   AMP-based

reimbursement system to pay pharmacies for prescriptions under Medicaid is not a simple

administrative change. Instead, this shift would have required a complete change of the

entire Medicaid drug program’s pharmacy reimbursement system and not just a minor




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adjustment to the existing system. In fact, sometime after the relevant time period in this

action, Congress passed the DRA to require, inter alia, a major change in the

reimbursement system using AMP as a basis for setting federal upper limits for generic

drugs. CMS published proposed rules and later final rules for implementing an AMP-

based reimbursement system that would also have disclosed AMP prices to the public.

For a variety of reasons, the CMS final rule and the process by which it was promulgated

were considered problematic by the community pharmacies. These pharmacy groups

filed a motion for preliminary injunction to halt the execution of the AMP-based FUL

reimbursement and the posting of those prices for the public.24 The federal court granted

this preliminary injunction in December of 2007.

D.         Prescription Reimbursement Under the State Medicaid Drug Programs

       113.         State Medicaid drug programs pay for prescription drugs provided to

Medicaid enrollees through community pharmacies based on a method known as a ‘lower

of’ formula. That formula, as described in the Medicaid regulations, and also routinely

reported in the NPC Medicaid Book [NPC, Pharmaceutical Benefits, 1993, p. 15., and

other annual volumes] states drug reimbursement or payment “is not to exceed the lowest

of:”

           •    the maximum allowable cost (MAC) of the drug as established by HCFA’s
                [now CMS’s] pharmaceutical reimbursement board for certain multisource
                drugs (generic drugs), plus a reasonable dispensing fee;
           •    the estimated acquisition cost (EAC) of the drug (the price generally and
                currently paid by providers for a particular drug in the package size most
                frequently purchased by providers), as determined by the program agency,
                plus a reasonable dispensing fee; or
           •    the providers’ usual and customary charge to the public for the drug.


24
     I have provided an expert report on behalf of Plaintiffs on November 13, 2007 in National Association of
     Chain Drug Stores and National Community Pharmacists Association v. U.S. Department of Health and
     Human Services and Michael O. Leavitt, Secretary of HHS, and CMS, and Kerry Weems, Acting
     Administrator of CMS, U.S. District Court for the District of Columbia, Case No. 1:07-cv-02017.


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    114.        CMS (formerly HCFA) regulations clearly state that the estimated

acquisition cost is meant to be “as close as feasible to the price generally and currently

paid by the provider. The states are, therefore, expected to set their ingredient cost levels

as close as possible to actual acquisition cost.” [“HHS Action Transmittal, HCFA-AT-77-

113 (MMB), December 13, 1977. Subject: Title XIX, Social Security Act: Limitation on

Payment or Reimbursement for Drugs: Estimated Acquisition Cost (EAC)” as reproduced

in National Pharmaceutical Council (NPC), Pharmaceutical Benefits Under State

Medical Assistance Programs, 1983, p. 14]. The state Medicaid programs are expected

by CMS to meet this objective.

    115.        As noted earlier, this description of EAC emphasizing that this term is

supposed to represent a price that is “as close as feasible to the price generally and

currently paid by the provider” or a similar statement has been reported in every annual

volume of the NPC Medicaid Book from 1979 to 2005-2006. Sandoz was aware of, and

had access to, this publication since Sandoz has been a sponsoring member of the

National Pharmaceutical Council since 1983 or before.

    116.        The state Medicaid approach to estimating acquisition cost—their best

estimate of actual acquisition cost—relies upon data reported by manufacturers,

pharmacies and other providers. As noted previously, the state Medicaid programs rely

upon drug pricing information from drug manufacturers provided through a commercial

drug price database, including AWP, WAC, and DP. The vast majority of state Medicaid

programs rely primarily upon the AWP. The state Medicaid drug programs then use this

information in a formula that determines the ‘lower of’: (1) the estimated acquisition cost,

calculated based upon the price representations of drug manufacturers, plus the



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dispensing fee, (2) the MAC or FUL amount plus a dispensing fee, or (3) the pharmacy’s

usual and customary charge for the prescription as reported by the pharmacy.

    117.        Additionally, the total amount of payment to pharmacies and providers for

a prescription must be taken into account, including both the drug product cost payment

and the dispensing fee payment. As noted in a research report to CMS [Wrobel,

Schondelmeyer, et al., Case Study of the Texas Vendor Drug Program, 2005, p.67]:

        Stakeholders also agreed that, if the public sector did seek to improve the
        accuracy of its estimates of acquisition costs for use in Medicaid payment, then it
        would be absolutely essential to improve the accuracy of estimates of the cost of
        dispensing. Although many stakeholders acknowledged that current estimates of
        acquisition costs and the resulting drug product payment levels might be inflated,
        they also believed that current estimates of dispensing costs and Medicaid
        dispensing fees were too low. The combined effect of the two components of
        estimated cost (the drug product cost and the dispensing fee) is what ultimately
        determines payment and the financial performance of the retail pharmacy.

While the payer, Medicaid, may take into account a known drug product spread amount

(such as the AWP to WAC spread) when establishing the reimbursement formula

including the pharmacy dispensing fee or physician administrative fee, it is contrary to

public policy for the amount of a spread to be hidden from the payer (i.e., the state

Medicaid program) or to be manipulated by the drug manufacturer. For example, Stanley

Rosenstein of Medi-Cal explained “we spent all day talking about the effort we've had to

get accurate pricing. Had we started with accurate pricing, we wouldn't have had to go

through all of these changes, and we would have had an accurate reimbursement system

in the Medi-Cal program. That would have saved the taxpayers hundreds of millions of

dollars.” [Deposition of Stanley Rosenstein, November 6, 2008, p. 304.] Additionally,

the Colorado Medicaid agency designee stated that he was not “aware of any policy or

practice of Colorado Medicaid to pay excessive reimbursement to cover any claimed

inadequate dispensing fee.” (Deposition of Allen D. Chapman, U.S. ex rel. Ven-A-Care


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v. Dey et al., December 15, 2008, p. 331.)           In addition, this Colorado Medicaid

representative testified that he was aware of no information that “Colorado approved of

drug companies incentivizing pharmacies based on Medicaid reimbursement.”

(Deposition of Allen D. Chapman, State of Colorado, U.S. ex rel. Ven-A-Care v. Dey et

al., December 15, 2008, p. 343.)

    118.        The setting of payments for prescription drugs is also critical to providing

access to prescriptions and pharmaceutical care. For example, the Medicaid program

wants to ensure that enough pharmacy providers choose to participate so that patients will

have access to the drug products they are prescribed within a reasonable distance from

the patient’s home or work.

    119.        Consequently, it is critical for the Medicaid system to have an accurate

estimation of the cost of dispensing, as well as the amount that a pharmacy paid to

acquire a drug product, so that the reimbursement can be set at the proper level. Every

Medicaid program, and the federal Medicare program, has structured its reimbursement

with separate components for dispensing (or administrative) fees and drug product

(ingredient) cost reimbursement in order to permit the highest degree of control for the

programs over each of those components. Plainly, however, even if a Medicaid program

were to determine that it would be advantageous to set below-cost dispensing fees, and

“make up” for the shortage by paying higher drug ingredient cost reimbursement, it

would nonetheless be critical for the program to have accurate and reliable cost

information in order to strike the proper balance that the program deemed appropriate and

to ensure that any reimbursement decisions were meeting the Medicaid program’s

objectives. [e.g., see Deposition of Ayuni Hautea-Wimpee (WA), U.S. ex rel. Ven-a-Care




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v. Abbott Lab, Inc., 06-11337-PBS, Nov. 24, 2008, p. 148; Deposition of Brendan Joyce

(ND), U.S. ex rel. Ven-a-Care v. Abbott Lab, Inc., 06-11337-PBS, Dec. 12, 2008, pp.

241-244; and Deposition of Allen Dale Chapman (CO), U.S. ex rel. Ven-a-Care v. Abbott

Lab, Inc., 06-11337-PBS, Dec. 2008, pp. 323-324.]

    120.        I have been asked to address the following assertions by Defendants:

        In sum, like so many other states, California has long known that it
        reimbursed providers substantially more than what the providers paid to
        acquire Defendants’ drugs. And, like other states, California did so as a
        result of political factors or to insure adequate provider participation in
        Medi-Cal.

        (Defendants Memorandum of Law In Support of Its Motion to Dismiss,
        Filed January 17, 2006, p. 11.)

These assertions by Defendants are not consistent with, and are in direct opposition to,

long standing Medicaid statutes, regulations, policies and practices. The following

paragraphs in this section, and throughout my report, describe and explain how these

assertions are not supported.

    121.        As noted elsewhere in this report, the Medicaid regulations clearly state

that the estimated acquisition cost is meant to be “as close as feasible to the price

generally and currently paid by the provider. The states are, therefore, expected to set

their ingredient cost levels as close as is possible to actual acquisition cost.” [42 CFR Part

447.301; see also Fed Reg, Vol. 52, No. 147, July 31, 1987, pp. 28648-58; and see “HHS

Action Transmittal, HCFA-AT-77-113 (MMB), December 13, 1977. Subject: Title XIX,

Social Security Act: Limitation on Payment or Reimbursement for Drugs: Estimated

Acquisition Cost (EAC)” as reproduced in National Pharmaceutical Council (NPC),

Pharmaceutical Benefits Under State Medical Assistance Programs, 1983, p. 14].




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    122.        The Defendants (i.e., Dey, Mylan and Sandoz) knew the purpose of the

Medicaid program and the method used to estimate acquisition cost. Instead of reporting

prices “as close as feasible to the price generally and currently paid by the provider”,

however, the Defendants knowingly reported and continued to report prices that were not

close to the prices actually paid and even lowered their actual prices while at the same

time they held constant, or even raised their reported prices in some cases, to influence

the payments to providers and thus the sales of their drug products.

    123.        Some Medicaid officials did become aware that published AWPs were not

the pharmacy’s actual acquisition cost. This awareness may have come from Medicaid

audits, OIG studies, and GAO studies that selectively examined the relationship of AWP

to actual invoice prices paid by pharmacies. The Medi-Cal program understood and

expected that there was a known relationship between AWP and WAC (or pharmacy

invoice prices), especially for brand drug products, such that an estimated acquisition cost

(EAC) could be determined by AWP minus a certain percentage. Medi-Cal did adopt an

EAC methodology that was based on the relationship of AWP to WAC (i.e., AWP is 20

to 25 percent above the WAC, or WAC is 16.67 or 20 percent below AWP, previously

noted). This difference between the AWP and WAC can be referred to as the AWP-

WAC spread or the formulaic spread.

    124.        When pharmacy actual acquisition prices have been selectively studied,

they have sometimes been found to be substantially below the reported prices, and this is

especially so for generic or multisource drug products. As described elsewhere in this

report, some multisource and generic drug products will have AWPs that are the typical




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20 to 25 percent above the WAC, but it is not unusual to see generic drug products with

an AWP that is 50 to 100 percent, or more, above the WAC.

    125.        Drug manufacturers with multisource or generic drug products usually

lower their actual transaction prices due to price competition from other multisource drug

products, but their reported prices (AWP and WAC) typically remain the same or even, in

some cases, increase. Dey, Mylan and Sandoz have engaged in such pricing conduct as

described elsewhere in this report.    The spread between AWP and actual prices or

between WAC and actual prices is known as the EAC-AAC (actual acquisition cost)

spread or, sometimes as the mega-spread because these spreads can be as much as 30

percent to more than 1000 percent above the actual price. In fact, in the relevant time

period, the Defendants created and used mega-spreads that ranged from 42% to 8400%

for Mylan, 42% to 3600% for Sandoz (Geneva), and 13% to 1837% for Dey for specific

drug products initially named by California in this case [see California’s First Amended

Complaint, California v. Abbott Labs, et al., August 25, 2005, Exhibit C, Dey Drug

Pricing Information, Exhibit H, Mylan Drug Pricing Information, and Exhibit D, Sandoz

Drug Pricing Information.]

    126.        The state Medicaid programs expected that the manufacturer prices

reported to the price databases were based on actual or transaction prices, or based on the

known relationship to actual prices. In cases where Medicaid or others conducted an

audit of invoices, the auditors expected that the manufacturer and wholesaler prices on

invoices to pharmacies were actual prices. Medicaid administrators were not aware that

certain manufacturers, such as Dey, Mylan and Sandoz, inflated these prices (AWP,

WAC, DP or other prices found on invoices) to increase their sales, to increase




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reimbursement to pharmacies, or to distort the expected relationships to actual prices at

any point in time or over time.

    127.        Even if the Medi-Cal program was to have taken into account a known

drug product spread amount (such as the AWP to WAC spread) when establishing the

pharmacy dispensing fee, it undermines the policy objectives of the Medi-Cal program

for the amount of a spread to be hidden from the payer (i.e., the California state Medicaid

program) or to be manipulated by the drug manufacturer unbeknownst to the Medi-Cal

program. To the extent that a drug product cost spread exists, and is known to Medi-Cal,

the Medi-Cal program could have adjusted EACs or dispensing fees, but such a payment

policy is the purview of Medi-Cal and not drug manufacturers. In order to be able to

make such payment decisions, Medi-Cal assumes, and depends upon, accurate and

reliable price information from manufacturers in order to strike the proper balance that

the program may deem appropriate and to ensure that any reimbursement decisions meet

the Medi-Cal program’s objectives.      [e.g., see Deposition of Kevin Gorospe (CA),

December 3, 2008, State of California, ex rel Ven-A-Care v. Abbott Laboratories, Inc., et

al, Case No. 03-CV-11226, pp. 294-6 to 295-18.]

    128.        Defendants have made various arguments about tradeoffs, or cross-

subsidization, related to Medicaid drug payment policy.        They have suggested that

Medicaid payment policy takes into account tradeoffs between: (1) drug ingredient cost

and dispensing fees; (2) drug ingredient costs and a desire to incentivize dispensing of

generics; and (3) drug ingredient costs and a desire to incentivize pharmacy participation

and beneficiary access.




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    129.        In 1994, HCFA formally stated: “We would also clarify our policy that a

dispensing fee determination must be separate and distinct from the EAC determination

and unrelated to the cost of the drug product.” [August 12, 1994, Memorandum from

Sally Richardson, Director of HCFA’s Medicaid Bureau, To All Associate Regional

Administrators (HHC902-0878).] This same message was forwarded to state Medicaid

agencies through their regional administrators. To my knowledge HCFA (or CMS) has

not withdrawn this policy.

    130.        From my experience working with Medicaid officials at both the federal

and state levels, I understand that Medicaid officials considered the various objectives of

the programs when they set reimbursement formulae.           If evidence and experience

demonstrated that payment adjustments were needed, the Medicaid program officials

adapted their methodologies or developed alternative methods to address the concerns.

However, to the best of my knowledge, nowhere in the statutes, regulations, rules or

policies for Medicaid payment is there authorization, or even a mention, of manufacturers

being asked to inflate their drug prices to “help” the programs achieve the tradeoffs that

may be necessary to accomplish the programs’ objectives.

    131.        Even if a Medicaid official wanted, rightly or wrongly, to take into

account the difference in Medicaid ingredient cost allowance and actual acquisition cost

as a trade off to other factors, he or she would not possess the information necessary to

make such a tradeoff because Medicaid officials do not know the actual prices or range of

prices charged by a manufacturer in the market. To the contrary, the only way for

programs to achieve their desired objectives is for them to be given accurate, timely and

reliable information about prices.




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    132.          Additionally, to the extent that any state saw a need to pay additional

dispensing or administration fees for infusion drugs, such a determination was within the

state’s policy making discretion, but was not intended to be left to, or even co-opted by

manufacturers, based on a system of reporting inflated prices for these drugs. Notably,

states that saw a need to pay additional infusion dispensing fees did so as they considered

it appropriate and affordable. For example, at some point during the relevant period, at

least 9 states have had an increased infusion fee and at least 16 states have paid a higher

compounding fee. In addition, at least 16 states pay a higher unit dose (or long term care)

dispensing fee.

    133.          Likewise, to the extent that any state saw a need to pay an additional

dispensing fee as an incentive to the pharmacies to dispense generic drug products such a

determination was within the state’s policy making discretion, but was not intended to be

left to, or even co-opted by manufacturers, based on a system of reporting inflated prices

for these drugs. Notably, states that saw a need to pay additional generic dispensing fees

as an incentive did so as they considered it appropriate and affordable. For example, at

least 9 states have paid a higher generic incentive fee at some time during the relevant

period.

    134.          Regardless of whether or not some state Medicaid officials viewed their

estimated acquisition cost method within federal guidelines as a tradeoff for, or cross-

subsidization of, other factors, the states did not rely upon nor expect the drug

manufacturers to set unknown prices with high spreads to cross-subsidize. As a matter of

policy, the states would not design a payment system that delegates the amount of

payment to providers to be at the discretion of the drug manufacturers. Even if states did,




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or desired to, cross-subsidize with other factors, the states would have needed complete,

accurate, and timely price information from the drug manufacturers.                       The drug

manufacturers did not provide the state Medicaid programs with complete, accurate, and

timely price information and their reporting of inflated prices that were not transparent to

the public programs did not serve government policy objectives effectively.

E.      Federal Upper Limits (FULs) and Maximum Allowable Costs (MACs)

     135.       The Medicaid payment formulae include maximum allowable cost

provisions. There are two basic types of maximum allowable costs (MACs): (1) federal

MACs, also known as federal upper limits (FULs) and (2) state MACs, known in

California as Maximum Allowable Ingredient Costs (MAICs). However, not all generic

drug products have either a federal or a state MAC.

     136.       A FUL is set by the federal Medicaid program based upon specific criteria

that will trigger whether or not a FUL may be established. Prior to the DRA [Deficit

Reduction Act of 2005, Pub. Law 109-171 ' 6001, 120 Stat. 4, 54], FULs were

established only when three or more ‘therapeutically equivalent’ drugs (in the same drug

product group) were on the market.25

     137.       Not all generic, or off-patent, drug products have federal FULs or state

MACs. Prior to the DRA, there were about 500 drug product groups with an established

FUL. Under the new rule issued to implement the DRA, the number of drug product

groups with FULs was expected to grow to 3,000 or more.26 Minnesota has State MACs



25
    The term ‘therapeutically equivalent drugs’ is used in the proposed rules to mean “drugs that are
   identified as A-rated in the current edition of the FDA’s publication, “Approved Drug Products with
   Therapeutic Equivalence Evaluations” (including supplements or successor publications).” See CMS,
   Medicaid Program; Prescription Drugs, Final Rule, Fed. Reg., July 17, 2007, p. 39154.
26
   Analysis of data on FULs, state MACs, commercial MACs, and other pricing data provided through
   personal communication with George Saunders, Pharm.D., Vice President, Professional Services,


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or FULs for 734 drug product groups and Washington has about 1,400 drug product

groups with State MACs or FULs.27

    138.        Even today, when states have become more aggressive with MACs, state-

negotiated rebates, and other forms of cost containment, a large proportion of the generic

drug products do not have MACs or FULs. To illustrate the relative proportion of

multisource products with and without MACs (or FULs), actual data from Medi-Cal was

examined for 2006. The number of prescriptions and the amount of drug expenditures

for the Medi-Cal drug program were categorized by their patent status and by the

presence or absence of an FUL. Single source brand name drug products were 27.5

percent of the prescriptions, but accounted for 66.6 percent of the drug program

expenditures.      Nearly three-fourths (72.4 percent) of the prescriptions were for

multisource drug products and one-half of those multisource drug products had FULs

while the other one-half did not. Expenditures for multisource generic drugs without

FULs represented 21 percent of the total drug expenditures, and multisource generic

drugs with FULs represented 12.4 percent of total drug expenditures.28

    139.        Some generic drug products were subject to a FUL, or a state MAIC, at

some point in time. Even for these generic drug products, the reimbursement for such

generic prescriptions may still have been influenced by the manufacturer’s reporting of

inflated prices. If the drug manufacturer had reported a price generally or currently paid


   AmeriSourceBergen, e-mail on June 28, 2006 and an excel file titled “FUL vs Comm MAC vs State
   MAC 10052005.xls”.
27
   Minnesota Medicaid has 734 drug product groups with State MACs which includes the 496 drug product
   groups with federal FULs. The number of State MACs in Minnesota compared to other states ranks 24th
   with the largest number of State MACs being nearly 1,400 in Washington. See George Saunders,
   AmeriSourceBergen, e-mail on June 28, 2006 and excel file titled “FUL vs Comm MAC vs State MAC
   10052005.xls”.
28
   Myers & Stauffer, Survey of Dispensing and Acquisition Costs of Pharmaceuticals in the State of
   California, December 2007, pp. 36 and Table 4.1.


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as the AWP, in some cases, the AWP may have resulted in an ingredient amount that was

lower than the FUL limit for the generic product. In this case, the reporting of an

accurate AWP would have resulted in Medi-Cal reimbursing a lower amount for such

generic prescriptions. Additionally, reporting of a transaction-based AWP or WAC might

well have changed the FUL that was set, affecting reimbursement for all prescriptions

(i.e., all manufacturers versions of the generic drug product covered by the FUL)

reimbursed under that FUL.

F.      Role of Commercial Drug Price Databases

     140.         Drug information and price databases serve an essential role in the

pharmaceutical marketplace. These databases facilitate, inter alia: (1) the identification

and processing of prescription claims, (2) the screening for drug-drug, drug-disease, and

drug-food interactions, (3) access to other safety and clinical information related to drug

products, (4) pricing and payment for prescription drugs, and (5) determination of drugs

available on the market and whether FDA-approved generics are available.

     141.         The role of these drug price databases was described in my 2004 report to

CMS [Schondelmeyer and Wrobel, Medicaid and Medicare Drug Pricing, 2004, pp. 21-

22] as follows:

        Three commercially available drug price databases track list prices of drug
        products in the U.S. market at the AWP and WAC levels. These databases are:
        (1) the Blue Book (First DataBank, Hearst Publishing Co., Palo Alto, CA); (2)
        MediSpan Master Drug Data Base and PriceChek PC (Facts & Comparisons,
        Wolters Kluwer Health, Inc., Indianapolis, IN); and (3) the Red Book (Thomson-
        Medical Economics, Montvale, NJ). Historically, each of these firms published a
        price list in printed format once a year with quarterly updates. Since the mid-
        1980s, however, the electronic version of these databases has been the primary
        format for price list publication. These databases are updated on a continuous
        (daily) basis. In addition to price data, these databases also contain or link to
        other databases that provide descriptive and clinical information on drug products
        including therapeutic class and uses, drug interactions, patent and regulatory
        status, therapeutic equivalence and generic alternatives, and many other useful
        data elements.


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        The principal users of these drug price databases are pharmacies and third party
        programs. Pharmacies use the drug price and clinical information database on
        their in-store computers for pricing, filling prescriptions, drug interaction
        screening, and submission of third party prescription claims. Third party payers
        (public and private) use these databases to screen, adjudicate, and determine
        payment for covered prescriptions. Virtually every third party program (public or
        private), or its claims processor, use one of these drug price databases as the
        source for AWP, or WAC, values that serve as the basis for calculating the price
        that a pharmacy will be paid for each drug product based on the NDC number.
        This price information is then used according to the contractual pricing formula
        to pay the pharmacy for the prescriptions dispensed to eligible recipients. The
        vast majority (more than 40) of the state Medicaid programs use First
        DataBank’s drug price information as the basis for prescription drug payments to
        pharmacists and other providers.

    142.        The    various   players    in   the   pharmaceutical     market    (i.e.,   drug

manufacturers, drug wholesalers, pharmacies, providers, and third party payers),

including Dey, Mylan, and Sandoz, recognized the role of drug price databases in the

payment and reimbursement for prescriptions under third party programs including the

state Medicaid programs.

    143.        Furthermore, these players in the pharmaceutical market, including the

drug manufacturers and specifically Dey, Mylan, and Sandoz understand that the various

types of price data reported by drug manufacturers, either directly or indirectly, to the

drug price databases will result in setting the AWP, WAC, and/or DP for each specific

drug product at the NDC (national drug code) level at any point in time.

    144.        Medi-Cal pays for millions of pharmaceuticals claims each year and

attempts to do so in a manner that will maximize the medical services and products that

can be provided to beneficiaries based on the funds available to the program.

    145.        Government policy makers and implementers with responsibility for large

healthcare reimbursement programs (e.g., Medicare and Medicaid) need to rely upon

readily available and current market information such as that supplied by drug



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manufacturers and drug price publishing services because of the large number of claims

that make individual transaction prices impractical and inefficient to determine on a claim

by claim basis. (e.g., see Deposition of Stan Rosenstein, California ex rel. Ven-a-Care v.

Abbott Lab, Inc., 03-CV-11226-PBS, November 6, 2008, pp. 300-302; Deposition of

Brendan Joyce (ND), U.S. ex rel. Ven-a-Care v. Abbott Lab, Inc., 06-11337-PBS, Dec.

12, 2008, pp. 241-242; Deposition of Allen D. Chapman, State of Colorado, U.S. ex rel.

Ven-a-Care v. Abbott Lab, Inc., 06-11337-PBS, Dec. 15, 2008, pp. 323-324.)

    146.        Pharmaceutical pricing conduct, in part, includes the setting of prices by

drug manufacturers and the reporting of drug prices to commercial drug price publishers

and to state and federal pharmaceutical reimbursement programs such as Medicaid and

Medicare.

    147.        Most state Medicaid programs, including Medi-Cal, rely on drug price and

cost information published by price publishing services such as Hearst Corporation’s

First DataBank—also known as Blue Book. The prices published by price publishing

services such as First DataBank’s Blue Book or Thompson Publishing’s Red Book were

based upon price data reported by the drug’s manufacturer.

    148.        Drug manufacturers knew that the state Medicaid drug programs relied

upon First DataBank for the AWP and/or WAC prices used in Medicaid payment

formulae. In First DataBank’s own newsletter, it reported that: “We deliver our prices to

43 of the state Medicaid programs, all of the major drug wholesalers, third party payors

and pharmacies all across the country.” Also, drug manufacturers knew that the AWP

and WAC prices reported by First DataBank were represented by First DataBank as

follows: “Since AWP is the Standard in the industry you naturally want to use the most




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widespread AWP there is. First DataBank has that standard.” [“National Drug Data File

(NDDF), The Most Comprehensive Drug Database,” First DataBank, Monthly Interest,

March 1993, Vol. 8, No. 3, p.1.]

    149.        First DataBank over more than a decade [1991 to 2002] has described

AWP and WAC as list and benchmark prices that are “prices charged” or the “price at

which a particular drug is sold.” [See First DataBank, Monthly Interest, September 1991;

and Letter from Robert Hawley, Office of General Counsel, Hearst Publishing, to

Michael Lembke of Alpha Therapeutic Corporation, May 30, 2002.] These descriptions

by First DataBank, when taken at the plain meaning of the language used, indicated

prices actually “charged” or “price at which the drug was sold.” In 2000, First DataBank

addressed the question: “What is AWP?” The response reported: “AWP (Average

Wholesale Price) is an industry term that represents a benchmark wholesale price a

wholesaler would charge a pharmacy for a particular product.” [“Medicaid

Reimbursement Pricing Issues,” First DataBank, Monthly Interest, July, August 2000,

Vol. 15, No. 6, p.1-3.]

    150.        The terms, list price and benchmark price, as used by First DataBank and

even in my reports and testimony, are not meaningless prices and can not be anything that

the manufacturer wants them to be especially when those prices are being reported to the

drug pricing compendia for reimbursement purposes. In fact, as noted above, First

DataBank refers to the benchmark price as an industry term that “represents a benchmark

wholesale price a wholesaler would charge a pharmacy for a particular product.”

[“Medicaid Reimbursement Pricing Issues,” First DataBank, Monthly Interest, July,

August 2000, Vol. 15, No. 6, p.1-3.] Third party programs use benchmark prices from




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the drug pricing compendia (i.e., First DataBank) as a primary component of their

reimbursement systems.

      151.        Having manufacturers report prices that bear no set, or established, or

predictable relationship to prices actually charged would obviously not allow a rational

judgment to be made about the amount of reimbursement and would result in some

prescription payments providing excessive profit to the provider while other prescription

payments may not be adequate to cover all real costs. From the policy perspective of the

Medicaid program, such an impact would be inconsistent across drug products, subject to

the whims and financial benefit of the drug manufacturers or providers, and would

encourage the tainting of professional judgment of physicians and pharmacists by profit

incentives that are beyond the government’s knowledge or control. From the perspective

of establishing reimbursement policies so as to incentivize pharmacists or providers to

dispense lower-cost generics rather than higher-cost brands, for example, it is extremely

important that the system has available accurate, timely and comprehensive price

information.29 If reported prices do not meet these criteria, the program cannot evaluate

whether it is in fact incentivizing providers to dispense generics, or whether any such

incentive is in an amount that the program deems appropriate.

      152.        To the best of my knowledge and experience from working with Medicaid

drug programs, there is no policy objective within Medicaid that relies upon, or is

furthered by, pharmaceutical manufacturers reporting prices that bear no rational or

predictable relationship to the prices actually charged in the marketplace. (e.g., see

Deposition of Kevin Gorospe (CA), U.S. ex rel. Ven-a-Care v. Abbott Lab, Inc., 06-


29
     Schondelmeyer, SW and Wrobel, MV, Medicaid and Medicare Drug Pricing: Strategy to
     Determine Market Prices, CMS Contract # XXX-XX-XXXX, Task Order 1, August 30, 2004, p. 28.


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11337-PBS, Dec. 3, 2008, p. 300; deposition of Roxanne Homar (WY), U.S. ex rel. Ven-

A-Care v. Abbott Lab., Inc., December 3, 2008, p. 438-439; and deposition of Brendan

Joyce (ND), U.S. ex rel. Ven-a-Care v. Abbott Lab, Inc., 06-11337-PBS, Dec. 12, 2008,

pp. 273-276.) To the contrary, Medicaid and Medi-Cal currently and historically have

relied upon manufacturers’ reporting of prices that do reflect the “prices generally and

currently paid by providers” in the marketplace.

    153.        The Medicaid drug program has had a consistently stated objective for its

payment policy to be based on “estimated acquisition cost” (EAC). Drug manufacturers

were well aware of this intent with respect to the drug product payment under Medicaid

since as far back as 1977. The intent of the Medicaid program regarding drug product

reimbursement is “to have each state’s estimated acquisition cost as close as feasible to

the price generally and currently paid by the provider.” Drug manufacturers were also on

notice that Medicaid’s expectation was that: “The states are, therefore, expected to set

their ingredient cost levels as close as possible to actual acquisition cost.” [“HHS Action

Transmittal, HCFA-AT-77-113 (MMB), December 13, 1977. Subject: Title XIX, Social

Security Act: Limitation on Payment or Reimbursement for Drugs: Estimated Acquisition

Cost (EAC).” as reproduced in National Pharmaceutical Council (NPC), Pharmaceutical

Benefits Under State Medical Assistance Programs, 1983, p. 14.] Medi-Cal at all times

operated under the same expectations and had statutes, regulations, and other

communications that clearly communicated these requirements.

    154.        I am aware of no regulation, or payer such as Medicaid, that requests,

authorizes, or encourages a drug manufacturer to set and report a list price or benchmark

price to the drug price compendia as an AWP or WAC that has no relationship to the




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prices actually charged in the market. In fact, First DataBank and Medicaid programs,

including Medi-Cal, make it clear that the AWPs and WACs reported are used for

Medicaid reimbursement and that Medicaid expected that reimbursement would be “as

close as feasible to prices generally and currently paid by the provider.”

      155.      The prices reported by drug manufacturers to drug price compendia have

traditionally had a predictable relationship to actual market prices generally and currently

paid by pharmacies in the marketplace, except for instances where a manufacturer for its

own reasons chose to report prices with inflated relationships when compared to the

actual prices that are generally and currently paid by pharmacies in the marketplace. This

behavior of certain drug manufacturers has resulted in reported prices, such as AWP,

WAC, and DP, and their relationship to actual prices generally and currently paid by

pharmacies in the marketplace, becoming inflated progressively over time.

      156.      Drug manufacturers, including Dey, Mylan and Sandoz were aware that

state Medicaid programs intended to use the manufacturer reported prices to commercial

price databases to estimate the prices “generally and currently paid by pharmacies” in the

marketplace. This general intent of state Medicaid programs was published routinely in

the    annual   volumes       of   the   National      Pharmaceutical   Council’s   publication

“Pharmaceutical Benefits Under State Medical Assistance Programs” (also referred to as

the “NPC Medicaid Book”), and other places.                Sandoz (either directly or through

Novartis) has been a member of the National Pharmaceutical Council throughout the

entire period at issue in this case.




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G.      Dey’s Price Reporting Conduct and Impact on Medi-Cal

     157.       There is evidence indicating that Dey’s employees understood and

monitored how the drug prices (e.g., AWP and WAC) they published through databases

(e.g., First DataBank) would be used and relied upon by others. Dey knew that its

reported price information would be used in a formulaic process to set the payment to

pharmacies and other providers for dispensing each specific prescription for a drug

product at the NDC level to a patient in a given third party program, including state

Medicaid programs. Evidence also indicates Dey knew that pharmacies were interested

in these published drug prices for drug reimbursement purposes.

     158.       Dey used pricing strategies that set and maintained high AWPs and, at the

same time, created a large spread between the actual selling prices and the amounts that

would be paid by third party programs, including Medicare and Medicaid. In a memo

describing that “this pricing strategy will be followed by Dey sales people,” the

objectives of the albuterol pricing strategy included the following: “TO SEEK THE

HIGHEST PRICES POSSIBLE IN RETAIL, HOMECARE AND HOSPITAL

SEGMENTS.” “TO MAXIMIZE DEY PROFITABILITY” and “TO PROVIDE

INCENTIVE TO RETAIL / CHAIN PROVIDERS TO USE DEY’S ALBUTEROL UD

BY      INCREASING            THE   SPREAD          ON   MEDICARE       /    MEDICAID

REIMBURSEMENTS.” (Memo from Robert F. Mozak, Dey, to Pam Marrs, et al. , Dey,

RE: Albuterol Pricing Strategies, dated February 24, 1992, DL-TX-0090851). These

same three objectives, inter alia, were reiterated for a different drug product (Cromolyn

Sodium Nebulizer Solution 20mg/2ml) two years later in 1994.                (CROMOLYN

SODIUM NEBULIZER SOLUTION 20mg/2ml ABRIDGED MARKETING PLAN,




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prepared by Robert Ellis, January 1, 1994, DL-TX-0090967-1005, see particularly, DL-

TX-0091002.)

    159.        Dey marketing executives knew how reimbursement for government

programs (i.e., Medicare and Medi-Cal) worked, the role of increased spreads or

“margins,” and that they were selling drug products (i.e., Cromolyn Sodium Nebulizer

Solution 20mg/2ml) substantially below the reimbursement rate.     The basis for this

finding comes from the Marketing Plan for Cromolyn Sodium Nebulizer Solution

20mg/2ml (December 15, 1993). (CROMOLYN SODIUM NEBULIZER SOLUTION

20mg/2ml MARKETING PLAN, prepared by Robert Ellis, December 15, 1993, DL-TX-

0091006-1005, see particularly, DL-TX-0091008, -1031, -1056.) The Introduction to the

marketing plan explains, “Homecare Pharmacies work in conjunction with DME dealers

and Medicare reimbursement…However, lower priced generic cromolyn from Dey will

increase the margins and help to mature this distribution channel into larger sales

volume.” (DL-TX-0091008.) A later section of the Cromolyn Marketing Plan provides

projected sales revenues for the Homecare Pharmacy Market. These sales projections are

based on a Dey “estimated selling price” for cromolyn of $0.45/unit in 1994 and

$0.40/unit in 1995 while at the same time the HCFA (Medicare) reimbursement rate is

footnoted to have been $0.74 per unit of cromolyn. (DL-TX-0091031.) Finally, the

Marketing Plan has a proposed pricing document near the back of the plan that explains

the “SPREAD TO HOMECARE PHARMACISTS – BASED ON DIRECT PRICES.”

This section goes on to show an “AWP” of “$0.74,” “REIMBURSEMENT AT 80% OF

AWP” of “$0.59,” “DIRECT COSTS” of “$0.48,” and a “SPREAD” of “$0.11 [per

unit].” (DL-TX-0091056.)




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    160.        Dey was aware that the reporting of prices such as AWP to the price

databases such as First DataBank, MediSpan, and Red Book was critical to selling its

drug products to pharmacies and to having those drug products reimbursed by third

parties, including Medicare and Medicaid.      (See description of importance of price

databases to Medicaid reimbursement as pleaded by Dey, L.P. in Complaint for

Injunctive Relief, Damages and Other Relief, Dey, L.P. v. First DataBank, Inc.,

California Superior Court, Case No. 26-21019, April 15, 2003, ¶¶ 26-39.) Also, the New

Product Launch Plan for Albuterol Sulfate Inhalation Solution 0.083% 3 mL included the

following: “Strategy: ensure early reimbursement for Dey-Lute Albuterol through rapid

notification to pharmacy reference (price) data bases. Tactic: Faxes sent to Drug Topics

Red Book, First Data Bank and Price Alert, Facts & Comparisons and Medi-Span on day

after approval.” (Dey Laboratories, Inc., New Product Marketing Plan, Albuterol Sulfate

Inhalation Solution 0.083% 3 mL, Helen Burnham, February, 1992, DEY-FLA-0026265-

308).

    161.        Dey set the AWP and WAC for its drug products and knew well the effect

that these reported and published prices had on sales to pharmacies. Dey also knew well

the role that these reported and published prices (i.e., AWP and WAC) served in the third

party reimbursement process, including the impact on Medicaid and Medicare

reimbursement. Dey prepared a “Reimbursement Comparison Worksheet” and trained its

sales representatives on its use during product launch and other sales meetings. For

example, a memo to sales and account managers announcing the launch of a new product,

albuterol sulfate inhalation solution 0.5%, 20 mL, states, “In this launch manual you will

find a copy of the presentation you saw recently at your sales meeting, including the




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launch plan, market overview, sales direction, our pricing matrix, terms, literature, a

training module and copies of all announcement mailings. In addition, we included the

“Multidose to Unit-dose Conversion” reprint and worksheet, and the “Retail Profit Gain”

worksheet. [also known as the Reimbursement Comparison Worksheet] You used both

successfully last year.” (Dey Albuterol Multidose!!!!, Launch Manual, March 1996,

Memo from Todd Galles to Territory Account Managers, Inside Sales Representatives,

National Account Managers, Re: New Product Announcement: Dey Albuterol Sulfate

Inhalation Solution 0.5%, 20 mL, dated March 4, 1996, DL-TX-0092786-813).

    162.        Dey set its actual selling prices to wholesalers substantially below its

reported prices (i.e., AWP and WAC). In the Marketing Launch Plan for Albuterol

Inhalation Aerosol, 17g (MDI) there is a price list for this new MDI version of albuterol

(Dey). This price list clearly states the price per unit to each specific class of trade (set of

buyers) as a percent off of AWP or other defined benchmark prices. For example, the

“Wholesaler” direct price is to be “Proventil [the Schering brand] less 19%;” the price to

“warehouse chains” is to be “AWP – 35%;” the price to a “Generic Distributor” is to be

“15% Below Wholesalers); and the price to a “Mail Order” is to be “AWP – 36%.” In

other words, the actual prices to buyers in each of these classes of trade were

substantially below (i.e., 19 percent to 36 percent or more) the manufacturer-reported

AWP price. (MARKETING LAUNCH PLAN, Albuterol Inhalation Aerosol, 17g (MDI),

DEY Laboratories, MDI PRICING, included in the document dated November 1995 and

prepared by Todd Galles, DL-TX-0093357.)

    163.        Dey took actions to “increase reimbursement spread” for its cromolyn

drug product. In a memo RE: CROMOLYN SALES UPDATE, the memo describes,




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“After five months of marketing of Cromolyn, Marketing has conducted extensive

analyses to determine the sales status of Cromolyn to date.” In response to that analysis,

program adjustments were recommended including: “Price modifications have been

implemented in all retail buying groups, generic distributors, and some chain accounts.

This will increase reimbursement spread. We should be more aggressive on discounting

the 120’s.” (Memo from Robert F. Mozak, Dey, to Charles Rice, CEO, Dey, RE:

CROMOLYN SALES UPDATE, dated September 28, 1994, DL-TX-0161590-607.)

    164.        Not only did Dey set and increase the spread amounts for its drug

products, Dey also knew the impact of these spreads upon the purchase decisions of its

customers. In a monthly report from Dey’s CEO (Charles Rice) to his European superior,

Rice reported, “Due to the less favorable spread below AWP and market pricing on

Cromolyn, we are facing price reductions on this new product to stimulate movement in

the last quarter.”    (Memo from Charles Rice, CEO, Dey, to Jean-Pierre Termier

(European    corporate    headquarters),   RE:       MONTHLY    REPORT      –   AUGUST

1994.UPDATE, dated September 28, 1994, DL-TX-0162493-495.)

    165.        Dey went so far as to develop a “REIMBURSEMENT COMPARISON

WORKSHEET” and to link employee compensation to incentives for presenting this

Reimbursement Comparison Worksheet to key customers.             Several versions of the

Reimbursement Comparison Worksheet were produced by Dey. (DEY-BO-0240246,

DEY-BO-0239333, and DEY-BO-0239338). Dey issued a memo to its sales personnel

addressing “Retail Questions.” This memo begins by instructing: “Discuss and ask the

pharmacist what his reimbursement is on our product. Determine if your state reimburses

for saline. If not, this store is losing out and would prefer to us[e] (sic) UD [unit dose]




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where they would be reimbursed for the full item.” The memo goes on to explain, “It

would benefit the pharmacist to get reimbursed for UD which carries a higher

reimbursement amount the MD [multi dose].” Finally, the memo concludes, “Get the

pharmacist to work with you to fill out the reimbursement comparison worksheet. You

will need to know how your state reimburses the pharmacist. He can tell you. Some

states reimburse according to AWP others use WAC pricing. You also need to know if

the pharmacy is a member of any Retail Buying Groups to get his Dey price. Once all

this information is obtained you can begin to fill out the worksheet to see what his profits

comparison would be.” (“Retail Questions” on Dey letterhead with “Reimbursement

Comparison Worksheet,” “Albuterol Multi Dose Worksheet,” and “Albuterol Unit Dose

Worksheet,” DL-TX-0090869-74.)

    166.        The role of the incentive plan in compensation of sales personnel was

described in a series of memos in 1995. (Memo from Bruce Tipton to Managed Care

Team, RE: ATTACHED INCENTIVE INFORMATION, dated April 5, 1995, DEY-

LABS-0282782-786.)        These memos describe that: “The remaining 30% [of your

incentive] (part B) is based on your goal attainment including: (1) Presentation of at least

one AWP reimbursement proposal to convert multidose to Dey unit dose albuterol to a

bonafide account. (2) Presentation of at least one Cromolyn conversion program to a

qualified major retail chain drug customer.” Later memos further specify that at least one

presentation of each type per quarter is required to receive the incentive compensation.

    167.        Although Dey did on occasion reported an isolated AWP or WAC and

related disclaimers to state Medicaid programs, these limited instances were not sufficient

to inform Medi-Cal of Dey’s actual transaction prices for its full product line over time.




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For example, I am aware that Dey prepared, at one point in time, two letters that were

circulated with an “Inter Office” memo, but it was not clear to whom and when these

letters were distributed. (Internal Memo from Todd Galles (Dey) to Russ Johnston (Dey),

re: New 105-01 Albuterol Multidose Medicaid letters, dated August 10, 1999, DEY077-

3599-3601.)    As the cover memo notes, “[t]here are two letters: one for the states

requiring WAC pricing; they get the letter with both WAC and AWP prices listed, and

the second letter for the other states that base reimbursement off AWP; they get the letter

that lists only AWP. There are 9 states that I know of that require WAC notification. All

others need only the AWP.” The two letters attached serve to announce the introduction

of one new drug product (Dey’s albuterol sulfate inhalation solution, NDC # 49502-105-

01).

    168.        The “WAC and AWP letter” provides the “AWP per Unit” and the “WAC

per Unit” prices for this new NDC. The letter goes on to describe that, “WAC generally

means the invoice price charged by a pharmaceutical manufacturer to drug wholesalers.”

The letter goes on to explain that because of discounts, rebates, chargebacks,

administration fees and other such adjustments “WAC may well not be representative of

actual market costs…” Nowhere in the letter does Dey state what the actual cost is for

this new NDC. In addition, the letter does not state the relationship of the AWP or WAC,

on average or otherwise, to the actual market cost. Also, the letter addresses only the one

new drug product (albuterol sulfate inhalation solution, NDC # 49502-105-01).

    169.        The “AWP letter” provides the “AWP per Unit” for this one new drug

product (NDC # 49502-105-01) and does not mention the “WAC per Unit” price for the

new NDC.      The letter goes on to describe that, “the Average Wholesale Price (or




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“AWP”) per unit listed above does not represent actual wholesale prices which will be

charged or paid for this product.” Nowhere in the letter does Dey state what the actual

cost is for this new NDC. In addition, the letter does not state the relationship of the

AWP, on average or otherwise, to the actual market cost. Also, the letter addresses only

the one new drug product (albuterol sulfate inhalation solution, NDC # 49502-105-01).

    170.        Based    on   my   experience   and   understanding    of   the   Medicaid

reimbursement system and state Medicaid program operations, there is nothing in this

letter that would have enabled a State Medicaid agency to reimburse for the Dey product

based on the “price generally and currently paid.” While Dey notes in the letter that the

AWP alone, or in the other letter that the AWP and WAC, are not actual market prices,

Dey’s letter did not provide prices that are “generally and currently paid” in the market.

Also, there is no indication that Dey provided the drug price databases with the prices

that are “generally and currently paid” in the market. There is nothing in this letter that

would have changed the prices in the computerized commercial drug price databases

known to be used by the state Medicaid drug programs including Medi-Cal.               The

reimbursement system is structured to use computerized price databases (i.e., First

DataBank, MediSpan, or Red Book) with manufacturer-reported prices that are applied

using a known formula to establish the reimbursement for an individual prescription.

This system is not dependent upon, nor does it provide a means for ad hoc information

for individual drug products to be routinely input and used as a basis for reimbursement.

Even if the system could accommodate an ad hoc price edit for an individual NDC, there

was no information in either version of Dey’s letter that could have been input as the

“price generally and currently being paid.”




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     171.       In light of the limited staffing and the relative lack of usefulness of the

information in the Dey letter, I am not surprised that various State Medicaid pharmacy

program personnel, including personnel for Medi-Cal, have testified that they did not

remember the Dey letters, did not find them helpful, or filed them “in the round file.”

(e.g., see Deposition of Kevin Gorospe (CA), U.S. ex rel. Ven-a-Care v. Abbott Lab, Inc.,

06-11337-PBS, Sep. 22, 2008, pp. 682-684; Deposition of Ayuni Hautea-Wimpee (WA),

U.S. ex rel. Ven-a-Care v. Abbott Lab, Inc., 06-11337-PBS, Nov. 24, 2008, pp. 149-150;

Deposition of James Parker (IL), U.S. ex rel. Ven-a-Care v. Abbott Lab, Inc., 06-11337-

PBS, Nov. 18, 2008, p. 71; Deposition of Brendan Joyce (ND), U.S. ex rel. Ven-a-Care v.

Abbott Lab, Inc., 06-11337-PBS, Dec. 12, 2008, pp. 254-258; Deposition of Roxanne

Homar (WY), U.S. ex rel. Ven-a-Care v. Abbott Lab, Inc., 06-11337-PBS, Dec. 3, 2008,

p. 444; and Deposition of Suzette Bridges (AR), U.S. ex rel. Ven-a-Care v. Abbott Lab,

Inc., 06-11337-PBS, Dec. 11, 2008 (Vol. 2), pp. 531-539.)

H.      Mylan’s Price Reporting Conduct and Impact on Medi-Cal

     172.       There is evidence indicating that Mylan’s employees understood and

monitored how the drug prices (e.g., AWP and WAC) they published through databases

(e.g., First DataBank) would be used and relied upon by others. Mylan knew that its

reported price information would be used in a formulaic process to set the payment to

pharmacies and other providers for dispensing each specific prescription for a drug

product at the NDC level to a patient in a given third party program, including state

Medicaid programs. Evidence also indicates that Mylan knew that pharmacies were

interested in these published drug prices for drug reimbursement purposes. [Deposition of

Robert Potter, Exhibit 47, CAMylan04044071 (Letter from Stephen Krinke, Director,




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Trade Relations and Government Affairs, Mylan Pharmaceuticals to Mr. Matthew

Leonard, Category Manager, CVS Corporation, dated July 20, 1999.]

    173.        Mylan employees understood and monitored how third party payers used

prices from the price databases for purposes of setting drug reimbursements to

pharmacies. For example, in 1999 Mylan’s Director of Trade Relations and Government

Affairs (Stephen Krinke) wrote to CVS, one of the largest chain pharmacies in America,

and stated “(w)e are striving to maintain AWP’s (sic) on all Mylan products which will

maximize your reimbursement. A significant number of Mylan AWP’s (sic) have been

modified in the past two months. Below is a list of products you are currently purchasing

from Mylan which have had AWP increases… We will continue to monitor our AWP’s

(sic) and make appropriate adjustments.” [Deposition of Robert Potter; Letter from

Stephen Krinke, Director, Trade Relations and Government Affairs, Mylan

Pharmaceuticals to Mr. Matthew Leonard, Category Manager, CVS Corporation, dated

July 20, 1999 (Exhibit 47, CAMylan04044071)]. In this letter alone, 35 different drug

names were identified by Mylan as experiencing AWP increases in the past two months.

This communication provides evidence that Mylan knew that its published prices (e.g.,

AWP and WAC) were important to pharmacies and that these prices could be controlled

to “maximize reimbursements” paid to pharmacies at the expense of payers such as

Medicaid. [Deposition of Anthony Mauro, Mylan, June 5, 2001, Exhibit 11, e-mail re:

Medicaid State Reimbursement; see also, Exhibit 19, New Product Pricing, Terazosin,

TX MYLAN 00201945-968; Exhibit 20, New Product Plan Summary, Nifedipine ER,

Novermber 5, 1999; CA MYLAN 02748871-872; Exhibit 21, Hydrochlorothiazide,

November 5, 1999, and Exhibit 22, Carbidopa and Levidopa, December 7, 1999 CA




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MYLAN 02748867-868; and see also, Exhibit 8, Nifedicpine ER, Mylan National

Account Managers Meeting, May 4-5, 2000, FAQs, TX MYLAN 00399800-802.]

    174.        An internal memo at Mylan advises National Account Managers and other

sales personnel that “We will continue to monitor all Mylan products and make

adjustments to ensure competitive/maximal AWP’s (sic). Please use these increases as a

selling tool with your accounts.” [Memo from Steve Krinke, Director of Trade Relations

and Government Affairs, Mylan Pharmaceuticals to Tom Darby . . . National Account

Managers, Subject: Additional AWP Revisions dated July 8, 1999 (Krinke Exhibit 13,

MAMylan006253).]        This memo shows that Mylan increased AWPs and that these

“increases” were used as a “selling tool.”

    175.        Mylan also was interested in training its personnel on reimbursement

matters. The individual who reported prices to state Medicaid programs, Steve Krinke

(Director of Trade Relations and Government Affairs), was requested to “put together a

tutorial on market pricing” that was to include “specific points” on “MAC HCFA / State

and private 3rd party MACs, when calculated and how; Generic vs. brand reimbursement

models on typical 3rd party programs; Copy of state medicaid reimbursement models; and

Copies of any customer reimbursement articles.” [Memo from Robert Cunard to Steve

Krinke, Director, Trade Relations and Government Affairs, Mylan Pharmaceuticals,

Subject: Reimbursement Outline dated January 8, 2001 (Potter, Exhibit 40,

CAMylan020042862)].           A powerpoint presentation describing Mylan’s Sales and

Marketing Department and its functions reveals an awareness that drug reimbursement

was dependent upon state Medicaid formulary placement and the publication of

manufacturers’ prices through pricing compendia such as First DataBank. [See Potter




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Exhibit 14, “Contracts & Pricing, A Customer Service Overview,” TXMylan03925536-

52; see also, Deposition of Joseph Duda, October 14, 2008, Exhibit 5, TXMYLAN

03925536-552; Deposition of Joseph Duda, Exhibit 8, Sales and Marketing Department

Overview, TXMYLAN 00428360-72.]           This presentation also indicates that Mylan

recognized “keys to influence sales” included the “spread of AWP.”

    176.        Mylan also created a “Reimbursement Comparison Worksheet” which

calculated reimbursement spreads on Mylan drugs compared with the spreads on

competing brand drugs and other generic drugs for Medicaid and private pay plans.

[Potter, Exhibit 11, Medicaid Reimbursement Comparison Summary, MYLCA 000123;

see also, Potter, Exhibit 12, Medicaid Reimbursement Comparison Worksheet, MYLCA

000111-113; see also, Memo from Robert Cunard, Mylan Pharmaceuticals to Mr.

Moldin, Subject: Drug 7 Information, Attachment, Private Pay Reimbursement

Comparison Worksheet (Potter Exhibit 10, MYL000956).]            Other versions of this

reimbursement comparison document in the same, or a similar, format appear in other

Mylan business records as this price spread comparison template was utilized for multiple

drugs on multiple occasions. [See Memo from Jason Harper to Drew Blowers, et. al.,

Subject: Nifedipine ER Reimbursement Comparison dated March 14, 2000 (Potter

Exhibit 9, TXMylan02719468).]

    177.        Documents, such as those referenced above, indicate that Mylan was

aware of its pharmacy customers’ interest in drug pricing and reimbursement

information. Particularly, the customers were interested in the reimbursement amounts

from payers such as Medicaid and in the calculated payment amounts using Mylan’s

published prices such as AWP and WAC.




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I.      Sandoz’ Price Reporting Conduct and Impact on Medi-Cal

     178.       There is evidence indicating that Sandoz’ employees understood and

monitored how the drug prices (e.g., AWP and WAC) they published through databases

(e.g., First DataBank) would be used and relied upon by others. Sandoz knew that its

reported price information would be used in a formulaic process to set the payment to

pharmacies and other providers for dispensing each specific prescription for a drug

product at the NDC level to a patient in a given third party program, including state

Medicaid programs.       Evidence also indicates Sandoz knew that pharmacies were

interested in these published drug prices for drug reimbursement purposes. [CVS

Proposal (prior to June 1, 2001), Deposition of Hector Armando Kellum, Exhibit 16,

SANDOZ WISC 0064552-55; and Deposition of Ira Baeringer, October 15, 2008, p. 80,

lines 4-20; SANDOZ WISC 0546364 (Sample Pricing Model for Brands and Generics,

Kevin Galownia, Senior Pricing Manager, Sandoz).]

     179.       As a general matter, responsible personnel at Sandoz admit Medicaid

reimbursement eligibility (i.e., coverage) was important to a pharmacy’s decision to stock

a given generic product. [See Deposition of Ronald Hartmann, Manager of Government

Affairs, Sandoz, April 23, 2008 at 106:5 to 108:10.]

     180.       Sandoz sales personnel also understood pharmacies would be less likely to

purchase drugs which were not covered by Medicaid. [Deposition of Warren Pefley

(Sales, Sandoz), October 8, 2008, at 329:17 to 330:4.] In addition, sales persons fielded

questions from customers about reimbursement and provided AWPs to customers who

performed reimbursement spread evaluations.            [See Lubke, Director of National

Accounts, Sandoz, October 20, 2008 at 63:13 to 64:13; 129:23 to 133:20.] Sandoz




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witnesses also understood increases in published AWP and WAC prices would result in

increased reimbursements and increased pharmacy profits. [See, for example, Deposition

of Hector Armando Kellum, Manager of National Accounts (formerly Credit Manager

and Finance Manager), Geneva (Sandoz), October 10, 2008 at 222:16 to 226:23.]

Documentation produced by Sandoz indicates Sandoz modeled, and/or calculated, the

reimbursement increase which would result from AWP and WAC manipulations. [See

Deposition of Hector Armando Kellum, Manager of National Accounts (formerly Credit

Manager and Finance Manager), Geneva (Sandoz), Exhibit 12.]

     181.       In addition to understanding customers’ interests in published pricing for

reimbursement purposes, Sandoz also transmitted information that described increasing

reimbursement spread amounts to customers such as chain pharmacies. [Deposition of

Hector Armando Kellum, Manager of National Accounts (formerly Credit Manager and

Finance Manager), Geneva (Sandoz), October 10, 2008, 234:11 to 240:7; and Kellum,

Exhibit 13.]

     182.       Documents, such as those referenced above, indicate that Sandoz was

aware of its pharmacy customers’ interest in drug pricing and reimbursement

information. Particularly, the customers were interested in the reimbursement amounts

from payers such as Medicaid and in the calculated payment amounts using Sandoz’

published prices such as AWP and WAC.

J.      Impact of Dey, Mylan and Sandoz Conduct on Medi-Cal

     183.       Pharmaceutical   manufacturers      are   generally   well   aware   of   the

reimbursement policies and systems of major payers, specifically including Medicaid and

Medi-Cal. Evidence in this case showing that Dey, Mylan, and Sandoz were aware of




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Medicaid and Medi-Cal reimbursement policies is totally consistent with my general

understanding of the industry over the last 30 years.     For example, pharmaceutical

manufacturers know that they must report prices to the pricing compendia in order to

have their drug products be saleable in the marketplace due to reimbursement practices.

Pharmaceutical manufacturers know that the prices they report to the pricing compendia

will be used by third party payers, including government third party payers, to set the

amount at which the health care providers will be reimbursed for drugs that are

dispensed.

    184.        Dey, Mylan, and Sandoz have reported inflated prices to the commercial

price databases used by Medi-Cal that were not reasonably or fairly indicative of the

“prices generally and currently paid by providers” in the marketplace, during the period

covered by the Complaint. These inflated price reports have caused the state Medicaid

drug programs, and Medi-Cal, to pay inflated reimbursement amounts for the drug

products specified in the Complaint.

    185.        The difference between Dey’s, Mylan’s, and Sandoz’ inflated price

representations to the commercial drug price databases and the actual net cost to

pharmacies and providers created a substantial “spread.” Consequently, the Medi-Cal

drug program substantially overestimated the acquisition cost of the drugs to providers

and, as a result, paid more than they intended, or an unknown amount in excess of the

amount they intended, to pay these providers.

    186.        Based on the extensive sales of drug products through contracts with

provider-customers, pharmaceutical companies, including Dey, Mylan, and Sandoz are

intimately familiar with the prices that the customers pay for the company’s drug




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products. Even if the sale to the customer is delivered through a wholesaler, the contract

price has typically been negotiated in advance between the manufacturer and the

customer, thus the actual contract price is fully known to the manufacturer. In the cases

of Dey, Mylan and Sandoz, the Defendants would also have been aware of the actual net

prices in situations where the company utilized a direct sales model, that is, contracts that

resulted in direct sales to a provider.

    187.        Dey, Mylan, and Sandoz had information readily available, at the time that

they reported inflated price information to the commercial price databases, which would

have enabled them to report price information which fairly and reasonably represented

the prices generally and currently paid in the marketplace, had they chosen to use this

information. The information available to Dey, Mylan, and Sandoz was the exact type of

information that they used when making pricing and other business decisions in the

ordinary course of their business. [Dey, L.P., Average Price – Shelf Carton, December

2000, DL-TX-0078119-121; Dey, L.P., Average Price – eaches, December 2000, DL-

TX-0078122-124; Dey Laboratories, Bid Reports: July/August, 1995 and Year-to-Date,

DL-TX-0079904-913; Deposition of Joseph Duda, Exhibit 8, Sales and Marketing

Department Overview, TXMYLAN 00428360-72; Deposition Joseph Duda, October 14,

2008, Exhibit 3, April 28, 2003, Rite [Aid] Contract On Contract vs. Not On Contract,

TXMYLAN 00315908-925; Deposition of Kristy Ronco, Sandoz, April 10, 2008, p. 26-

27.]

    188.        I am aware that Dey, Mylan, and Sandoz have responded to California’s

complaint in their answers, in part, by stating that any and all actions taken were taken in

good faith and in accordance with established industry practice. (Dey Answer,




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Affirmative Defense 7, 11, and 18; Mylan Answer, Affirmative Defense 7, 11, and 18;

and Sandoz Answer, Affirmative Defense 8, and 11). Even if true, this price reporting

behavior was contrary to the public interest as historically reflected in Medicaid and

Medi-Cal program policy, principles, statutes, and regulations and routinely reported in

various other places including the NPC Medicaid Book, well-known to Dey, Mylan, and

Sandoz on an annual basis from well before 1990 to the present.

    189.        State Medicaid programs are usually sparsely staffed, with the

employee(s) having responsibility for a wide range of issues, initiatives and systems such

as pricing and reimbursement, drug utilization review, drug rebates, state preferred drug

list development and maintenance, and other issues. This limited staff for the Medi-Cal

program does not have the time to review all drug product prices on a routine basis in

addition to their other job responsibilities.        State Medicaid drug programs pay for

somewhere between 20,000 and 60,000 different drug products (NDCs). California

regulations require that “the EAC, the FAC, and the MAIC/MAPC shall be updated by

the Director . . . no less often than every 30 days for drug products.” [Cal. Code Regs. tit.

22 §51513(a)(11), effective 3-1-95]. It simply is not feasible to monitor and manually

update all of these drug (NDC) prices on a monthly basis.

    190.        The Medi-Cal program has contracted with Electronic Data Systems

(EDS), a private firm, to perform claims processing and payment services and other drug

benefit operations for the Medi-Cal prescription drug program throughout the relevant

period in this case, 1994 through 2004. States like California, and the claims processors

acting on the state’s behalf, did not use WAC in their reimbursement process. Given the

relatively limited staffing of State Medicaid programs, it was not common for, and not




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practically possible for, Medi-Cal employees to “eyeball” or review the AWP and WAC

drug pricing data on a routine basis for all 20,000 to 60,000 drug products (NDCs) paid

for, or potentially paid for, by the Medi-Cal drug program.

    191.        Manufacturers     developing   innovator      brand   name   drugs    and

pharmaceuticals are traditionally protected by patents and permitted to set prices in the

United States which are typically higher than the prices the same manufacturer charges

for the same innovator drug abroad.       Once the patent or other market exclusivity

protection expires, however, the drug can become subject to generic competition that

creates market conditions that cause the price of the drug, or its generic equivalents, to

fall. As a result, consumers and others paying for the drug, including state Medicaid drug

programs as well as Medicare, should benefit from healthy price competition that should

lead to lower prices. The deceptive conduct by Dey, Mylan, and Sandoz, as alleged by

the plaintiffs, prevents the lower prices resulting from healthy market conditions from

being captured by payers such as state Medicaid drug programs including California’s

Medi-Cal program.

    192.        In summary, Dey, Mylan, and Sandoz clearly understood the role of drug

price databases and the role of reported and published prices (i.e., AWP, WAC, and/or

DP) in the payment for prescriptions by third party programs, including Medi-Cal and

Medicaid. Dey, Mylan, and Sandoz actively monitored and reported to the drug price

compendia (i.e., Blue Book, MediSpan, and Red Book) the AWP that was published for

their respective drug products.




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VII.    IMPORTANCE OF MEDICAID AND MEDI-CAL TO
        PHARMACEUTICAL MANUFACTURERS AND OTHER TOPICS

    193.        The Medicaid program is very important to pharmaceutical manufacturers.

Medicaid prescription expenditures have accounted for 8% to 15% of total U.S.

outpatient prescription dollars over the past 15 years (i.e., 1991 to 2005) and Medicaid

paid for 8% to 14% of the total number of outpatient prescriptions dispensed in the

United States over the past 15 years (i.e., 1991 to 2005). During the period from 1996 to

2004, the prescriptions paid for by Medi-Cal represented 10.3% to 15.8% of all

prescriptions in California. [National Association of Chain Drug Stores (NACDS), The

Chain Pharmacy Industry Profile, annual editions from 1998 to 2005. Data was from

IMS Market View, as reported in Novartis Pharmacy Benefit Report for 1996 to 2001

and from NDC Health (a health care information company) from 2002 to 2006].

    194.        As noted earlier in this report, up until January of 2006, the Medicaid drug

program was the single largest outpatient drug program in the United States.

    195.        Medicaid is also important to pharmaceutical manufacturers because their

pricing behavior in the broader pharmaceutical market may affect the rebates that must be

paid under the voluntary agreement with the Secretary of the Department of Health and

Human Services to enable participation in the national Medicaid Drug Rebate Program.

    196.        The Medicaid program and the operational details of drug coverage and

reimbursement on a state-by-state basis, as well as Medicare reimbursement for drugs

under Part B, are essential information for key personnel at every pharmaceutical

manufacturer. This coverage and reimbursement information is important for persons

working in business strategy, pricing, product management, marketing, and other units.




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       197.        Medicaid is so important that pharmaceutical manufacturers support the

compilation of detailed Medicaid drug program information and experience on an annual

basis. Drug companies also engage in lobbying activities related to federal and state

legislative and regulatory actions that may influence access to their drug products and the

amounts providers are reimbursed for these drug products by Medicaid, Medicare, or

other government programs.

A.         The National Pharmaceutical Council and the NPC Medicaid Book

       198.        The National Pharmaceutical Council (NPC) is a group of pharmaceutical

companies “engaged in the discovery, development, production, and marketing of

innovative prescription medicines.” The National Pharmaceutical Council, Inc. was

founded in 1953 and in 1992 had twenty-nine member companies. The 2005/2006

version of the NPC Medicaid Book lists twenty member companies on its back page.

The membership includes some new firms, but the number of members has declined over

time due, in part, to many mergers and acquisitions among drug firms.

       199.        Sandoz was aware of, and had access to, this publication since Sandoz (or

its parent firm Novartis Pharmaceuticals Corporation) has been a sponsoring member of

the National Pharmaceutical Council since 1983 or before. 30 [NPC, Pharmaceutical

Benefits, annual volumes, 1983 to 2006, membership list on back cover]. Dey was also

aware of, and has referenced, the National Pharmaceutical Council publications on

Medicaid program reimbursement in internal documents and communications as far back

as 1995. (Memo from Dey Laboratories to Beth Raider, Price Alert and Pharmacy Blue



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     The back cover of the NPC’s annual volume of Pharmaceutical Benefits Under State Medical Assistance
     Programs lists the member companies and, prior to 1983, the NPC letterhead listed the member
     companies.


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Book Update, May 30, 1995, attachment “Medicaid Rx Reimbursement Report, Drug

Topics, February 6, 1995, Source: National Pharmaceutical Council.)

    200.         The Medicaid drug program is so important that the NPC publishes an

annual volume titled “Pharmaceutical Benefits Under State Medical Assistance

Programs” (known as the NPC Medicaid Book). A “Dear Reader” letter in the preface to

the 1992 edition of this publication says, “Since 1965, it has been published by the

National Pharmaceutical Council to support your evaluation of Medicaid program

characteristics.”     [NPC Medicaid Book, 1992]. The NPC Medicaid Book was first

published in 1965 and continues to be published every year. The 2005/2006 edition

marked the 40th annual volume of the NPC Medicaid Book.

    201.         The NPC Medicaid Book is compiled from data obtained from the Health

Care Financing Administration (now the CMS), from a survey of “state Medicaid

program administrators and consultants,” and from other federal agencies and

organizations. [National Pharmaceutical Council, Pharmaceutical Benefits Under State

Medical Assistance Programs, 1992, p.iii]. The NPC Medicaid Book preface in the form

of a “Dear Reader” letter explains that NPC “provides services to pharmacists,

manufacturers, professional associations, colleges of pharmacy, physicians, medical

schools, government offices, and consumers concerning key aspects of health care.”

    202.         As noted in the Introduction, the NPC Medicaid Book “has become a

standard reference and invaluable resource in government offices, research libraries,

consultancies,      the   pharmaceutical   industry,   numerous   businesses,   and   policy

organizations.” [NPC Medicaid Book, 2005/2006, p. 1-3].




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    203.        The NPC Medicaid Book is updated every year and profiles each state’s

Medicaid program and related policies. The NPC Medicaid Book also contains

information on all states, as well as the District of Columbia.

    204.        The NPC Medicaid Book makes clear the extent to which Medicaid relies

upon published prices. This book also contains the following types of information: (1) an

overview of the Medicaid program, its history, and related regulations;       (2) socio-

demographic statistics, by age, race, insurance, income, and employment, for the fifty

states and the District of Columbia; (3) Medicaid pharmacy program characteristics,

drawn largely from the annual survey of state pharmacy program administrators and

Medicaid pharmacy program characteristics, such as total expenditures, drug payments,

drug benefit design, and pharmacy payment and patient cost sharing; (4) detailed profiles

of the states’ Medicaid pharmacy programs and a description of medical assistance

benefits and eligibles, drug payments and recipients, benefit design, pharmacy payment

and patient cost sharing, use of managed care, and state contacts; (5) profiles of State

pharmaceutical assistance programs, for those states with such programs; (6) a list of

state contacts, CMS regional offices and Medicaid program personnel; (7) a national

level summary on total Medicaid program recipients by type of service; (8) data on total

number of drug recipients for each state and the nation; (9) provisions of the current

Medicaid drug rebate law; (10) the list of CMS federal upper limits on multiple source

products; and (11) a glossary and list of acronyms.

    205.        The size and importance of the Medicaid program is so great that any key

person in an area such as marketing, pricing and reimbursement, product management, or

business strategy at a pharmaceutical company would have to be aware of the payment




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policies of Medicaid, or at least of where to find information on such policies. Key

personnel at major pharmaceutical companies, including Dey, Mylan and Sandoz, would

have been aware of the NPC Medicaid Book and most probably had a copy of the book in

their offices.

B.      Price Disclosures of Relator

     206.         Until the efforts and disclosures of Ven-A-Care, I am not aware of any

government or other published study or report that documented the inflation and

manipulation of prices reported by certain drug manufacturers. Ven-A-Care’s disclosures

of reported price manipulation and inflation by drug manufacturers, such as Dey and

Sandoz, were initially provided in August of 1995 and led to government investigations

and litigation.

     207.         I am familiar with Ven-A-Care's 1998 presentation to Medi-Cal and the

California Office of the Attorney General. Also, I am familiar with the 2000-2001

investigation led by Congressman Pete Stark and the House Committees on Energy and

Commerce and Ways and Means, including the information provided by Ven-A-Care

pursuant to the Commerce Committee’s subpoena.          As an expert in pharmaceutical

economics for more than 30 years, it is my opinion that the information provided by Ven-

A-Care to these entities and other governmental bodies was significant in illuminating

certain drug manufacturer pricing and marketing activities. This type of information was

not typically made available, or provided by, pharmaceutical manufacturers to anyone in

the marketplace. The Ven-A-Care revelations eventually enabled the government to

understand the role of conduct by certain drug manufacturers and how such activities led

to a detrimental impact on Medi-Cal reimbursement rates and program expenditures.




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    208.        A sampling of government studies conducted subsequent to the

disclosures of Ven-A-Care is listed below:

        a. Brown, June Gibbs. Review of Pharmacy Acquisition Costs Reimbursed Under the
        Medicaid Prescription Program of the California Department of Health Services.
        Department of Health and Human Services, Office of Inspector General, May 31, 1996.
        A-06-95-00062;

        b. Brown, June Gibbs. Appropriateness of Medicare Prescription Drug Allowances.
        Department of Health and Human Services, Office of Inspector General, May 1996.OEI-
        03-95-00420;

        c. Brown, June Gibbs. Suppliers’ Acquisition Costs for Albuterol Sulfate. Department of
        Health and Human Services, Office of Inspector General, June 1996.OEI-03-94-00393;

        d. Brown, June Gibbs. Excessive Medicare Payments for Prescription Drugs. Department
        of Health and Human Services, Office of Inspector General, December 1997.OEI-03-97-
        00290;

        e. Brown, June Gibbs. Need to Establish Connection between the Calculation of
        Medicaid Drug Rebates and Reimbursement for Medicaid Drugs. Department of Health
        and Human Services, Office of Inspector General, May 1998, OEI-03-97-00052;

        f. Brown, June Gibbs. The Impact of High-Priced Generic Drugs on Medicare and
        Medicaid. Department of Health and Human Services, Office of Inspector General, July
        1998.OEI-03-97-00510;

        g. Medicare Reimbursement of Prescription Drugs. Department of Health and Human
        Services, Office of Inspector General, January 2001.OEI-03-00-00310;

        h. Rehnquist, Janet. Medicaid’s Use of Revised Average Wholesale Prices. Department
        of Health and Human Services, Office of Inspector General, September 2001. OEI-03-01-
        00010;

        i. Rehnquist, Janet. Medicaid Pharmacy-Actual Acquisition Cost of Brand Name
        Prescription Drug Products. Department of Health and Human Services, Office of
        Inspector General, August 2001. A-06-00-00023;

        j. Rehnquist, Janet. Medicaid Pharmacy- Actual Acquisition Cost of Generic Prescription
        Drug Products. Department of Health and Human Services, Office of Inspector General,
        March 2002. A-06-01-00053;

        k. Rehnquist, Janet. Medicaid Pharmacy- Additional Analyses of the Actual Acquisition
        Cost of Prescription Drug Products. Department of Health and Human Services, Office
        of Inspector General, September 2002. A-06-02-00041; and

        l. Myers & Stauffer LC. Prepared for the Texas Health and Human Services Commission.
        Determination of the Cost of Dispensing Pharmaceutical Prescriptions for the Texas
        Vendor Drug Program. August 2002.



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D.      Government GAO and OIG Studies

     209.       Academic and government researchers have not had ongoing or reliable

access to pharmaceutical manufacturers’ actual prices, or detailed information about

marketing tactics, such as those disclosed by Ven-A-Care. This type of information

would be essential to a determination of whether an individual drug company has

reported prices that varied from those prices which would be consistent with the expected

relationship of AWP to WAC. OIG and GAO reports have suggested that there is

consistent relationship between AWP and WAC. That is, the WAC for brand name

drugs, representing the majority of dollars expended for Medicaid reimbursed

prescriptions, have historically been within 20% or less of AWP.

     210.       The federal and state governments, including the U.S. Congress, have

repeatedly attempted to study the relationship between drug prices published by price

publishing services and the range of prices generally and currently paid by prudent

purchasers in the marketplace.     These OIG and GAO reports showing differences

between the prices published in the drug price databases (AWP, WAC, and DP) and

actual audited invoice prices by design covered a limited time frame, focused on a limited

set of drugs and a limited set of providers in the sample, and presented simple and

weighted averages or high to low price ranges that are not generalizable to all drug

products at all points in time for all purchasers. The limited data from these government

studies was not sufficient to routinely determine that there were substantial differences

between the published benchmark prices (i.e., AWP, DP, and WAC) and the actual




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invoice prices to specific pharmacies and other providers for specific drug products from

specific manufacturers over time.

    211.        These GAO and OIG studies were designed to provide a one-time snap

shot look at very focused and certain pricing issues for a limited set of drugs that were

already known, or suspected. These studies were not designed to look for new, or

unknown, pricing issues or marketing practices in general. Additionally, many of these

GAO and OIG studies focused on pricing issues related to the formulaic spread (i.e.,

AWP to WAC, or invoice price) and not the hidden spread from WAC (or invoice price)

to actual acquisition cost.

    212.        The methodology and results of these GAO and OIG studies were subject

to criticism by academic experts and various retail pharmacy providers who purchase

both brand and generic drug products and provide them to Medicaid recipients. [Michael

Johnsrud, Marv Shepherd, Kenneth Lawson, A Review of the Office of Inspector General

Report: Medicaid Pharmacy—Actual Acquisition Cost of Brand Name Prescription Drug

Products, The Center for Pharmacoeconomic Studies, University of Texas at Austin,

December 2001, 5 pp.].        The University of Texas critique of the 2001 OIG study

enumerated multiple concerns with the method and results of the OIG study including:

(1) non-representative sample strata; (2) no correction for non-respondents; (3) non-

representative pharmacy invoice samples; (4) inappropriate extrapolation from limited

sample to nationwide estimate; (5) inconsistent categorization of brand vs. generic

products; (6) discounts not weighted by Medicaid sales; (7) not all drugs are paid for at

the AWP rate; and (8) misleading presentation of estimation variance. The University of

Texas critique concludes that there were “significant issues relating to methodology and




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extrapolation of national estimates based on what appears to be an unrepresentative

sample of pharmacies and invoices.” Two major pharmacy organizations reiterated these

criticisms of the OIG study.       Both the National Association of Chain Drug Stores

(NACDS) and the National Community Pharmacists Association (NCPA) issued press

releases questioning the findings of the OIG report. [NACDS & NCPA, University of

Texas Study Questions Findings of OIG Brand Name Drug Analysis, December 6, 2001.]

    213.         Even after these GAO and OIG studies, there continued to be an absence

of accurate actual price information either directly from drug manufacturers or indirectly

through the drug price compendia. This continued absence of accurate actual price

information prevented the state Medicaid programs and other payers from being able to

develop reimbursement systems that paid providers a price that was as close as is feasible

to the price generally and currently paid by providers. Conversely, the prescription

reimbursement systems that paid providers under state Medicaid programs and other third

party programs would have worked as intended for the purpose of providing a reasonable

estimate of acquisition costs if drug manufacturers had made public and reported prices

generally and currently paid by those providers.

    214.         An additional limitation to these studies was the lack of transaction price

information from drug manufacturers and other participants in the market. The GAO and

OIG did not usually have the full cooperation of drug manufacturers or providers in

obtaining access to transaction level pricing data. In the limited instances where

transaction price data has been available to the government or academic researchers, this

data has been restricted in use and labeled as ‘proprietary and confidential’ by drug

manufacturers.




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    215.        These government studies were not designed to identify the reasons for the

larger variances that were noted in the reports. Also, the government studies did not

differentiate between variances that resulted from the activities of specific drug

manufacturers rather than the existence of a large range of prices paid by prudent

purchasers.

    216.        No one study or set of isolated studies focused only on comparison of drug

product prices would be sufficient to select, establish, or operate an entirely new system

for setting reimbursement rates for prescriptions under the Medicaid or Medi-Cal drug

program on a comprehensive and ongoing basis across time.             Simply knowing an

“average” difference between published AWPs and invoice prices for a certain set of

drug products at one point in time would not be sufficient to implement an ongoing

reimbursement system that used an across the board discount off of AWP to pay

pharmacies for providing prescriptions to Medicaid recipients.

    217.        In summary, the government studies including those conducted by GAO

and OIG had multiple shortcomings. First, these government studies, in general, lacked

specificity—that is, they did not usually identify specific drug manufacturers or specific

drug products and the related prices paid versus the prices reported. Second, these

government studies were unreliable for numerous reasons as identified by the University

of Texas Center for Pharmacoeconomic Studies and by others.             Third, while these

government studies have suggested that there are issues with respect to estimating

acquisition cost, the studies did not provide sufficient information to use for changing the

reimbursement system for prescription drugs under Medicaid across all drug product

types and over time.          Finally, even after all of these government studies, drug




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manufacturers continue to report prices to the commercial drug price compendia that are

substantially inflated when compared to prices generally and currently paid by those

providers.



VIII. SUMMARY

    218.        The Medicaid drug reimbursement system is based upon the consistently

stated intention of reimbursing for drug products at their actual price, that is a price “as

close as feasible to the price generally and currently paid by the provider” – a concept

referred to in Medicaid program regulations and policies as ‘estimated acquisition cost.’

Medi-Cal statutory language says ““estimated acquisition cost” means the Department’s

best estimate of the price generally and currently paid by providers for a drug product

sold by a particular manufacturer or principal labeler in a standard package.” [California

W&I Code § 14105.45 (effective date August 16, 2004).] This language is substantially

similar to the California statutory and regulatory language throughout the period at issue

in this case.

    219.        Third party drug reimbursement systems, including Medicaid and Medi-

Cal, depend upon current and accurate price information reported directly by drug

manufacturers to the commercial drug price database publishers. The payment systems

of Medicaid and Medi-Cal have relied upon prices reported by drug manufacturers,

including Dey, Mylan, and Sandoz to the commercial drug price databases as the basis

for determining the estimated acquisition cost and for setting specific reimbursement

amounts for individual prescriptions.




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    220.        Actual transaction prices are not readily available for private or public

third party payers (including Medicaid and Medi-Cal) to use as a basis for setting specific

reimbursement amounts for individual prescriptions.          The actual prices of drug

manufacturers are considered by the manufacturers to be proprietary and confidential and

are not made public.

    221.        The AMP was created to implement the Medicaid drug rebate program,

but it was not created to serve as a payment and reimbursement system. The statute and

regulations related to AMP prohibit the use of AMP for any purpose other than

implementation of the drug rebate program.

    222.        There is no readily available substitute for the commercially published

prices (i.e., AWP, DP, and WAC) widely used for payment and reimbursement systems

by third party programs.

    223.        Dey, Mylan and Sandoz reported prices to the commercial drug price

databases that were inflated in relation to actual drug prices. When Dey, Mylan and

Sandoz reported inflated prices to the commercial drug price databases, those inflated

prices resulted in the Medicaid and Medi-Cal programs paying more than they otherwise

would have paid for a given prescription. These payments resulted in Medicaid and

Medi-Cal spending more of the federal and state government resources than they

otherwise would have spent for these drug products.




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